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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

   IN RE: XARELTO (RIVAROXABAN)        *           MDL 2592
   PRODUCTS LIABILITY LITIGATION       *
                                       *           SECTION L
   THIS DOCUMENT RELATES TO:           *
         ALL CASES                     *           JUDGE ELDON E. FALLON
                                       *
                                       *           MAG. JUDGE NORTH
                                       *
   ************************


                                EXHIBIT 6 TO
          PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
           FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                       FROM OTHER ANTICOAGULANTS




    FILED UNDER SEAL




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                   Expert Report of Dr. William Franklin Peacock, IV, MD, FACEP



                              In re XARELTO (Rivaroxaban) MDL 2592

                       This document relates to Joseph Orr, Jr. et al 14-13708




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   Medical Overview

            At the time of her death, Sharyn Orr was a 67 year old female with a past medical history of
   hypertension (diagnosed in 1986), atrial fibrillation, chronic kidney disease (evidence of kidney disease
   as early as 2005 with diagnosis of stage III chronic kidney disease by 5/19/2011), congestive heart
   failure, Type II diabetes (diagnosed in 1996 and treated with Glucophage, and Glipizide), and chronic
   cholecystitis, cholelithiasis, and cholesterolosis, ultimately leading to a cholecystectomy. Mrs. Orr’s
   father died of a pulmonary embolism at the age of 67. Her family medical history also included
   hypertension.

           Mrs. Orr’s glucose levels fluctuated throughout the years and were a challenge to control with
   HgA1C of 11.30 and glucose of 344 in July of 1997. In 2000, she was apparently hospitalized with
   glucose of 1185. In August 2005, she had a glucose of 334. In September 2005, she had an A1C of 11.1.
   By August 2005, she started to experience bilateral neuropathy in her feet. Also in 2005, Mrs. Orr was
   diagnosed with GERD and treated with Nexium and Prevacid.

           In April 2011, Mrs. Orr was diagnosed with new onset atrial fibrillation with rapid ventricular
   response after a visit with her primary care physician and complaints of shortness of breath and chest
   pressure. Mrs. Orr was admitted to the ER by her primary care physician and an exam showed an
   irregular heart rate. She was prescribed Pradaxa and Aspirin at 81 mg/daily upon discharge. Her
   cardiologist, Dr. St. Martin, continued her Pradaxa prescription and Aspirin and diagnosed congestive
   heart failure. Dr. St. Martin attempted to manage Mrs. Orr’s hypertension, which had been and
   remained difficult to control over the years:

          2005:   200/94; 210/118
          2007:   180/84; 170/84
          2009:   220/104
          2011:   230/120; 226/110
          2013:   204/93; 204/99
          2014:   170/100; 181/82; 207/89
          2015:   190/80; 213/96; 200/90

           Home blood pressure readings were more moderate, although still above the desired level, in
   the 140s/80s range. Mrs. Orr’s primary care physician, cardiologist, and nephrologist considered that
   there may have been some component of “white coat” anxiety which elevated her blood pressure
   readings in the doctors’ offices, but nonetheless, she had the capability of being extremely hypertensive,
   remained hypertensive and needed to be on medication. Prior to her death, Mrs. Orr was on five
   different blood pressure medications in an attempt to control her hypertension (metoprolol,
   amlodipine, clonidine, benazepril, and diltiazem).

           In August 2013, Mrs. Orr began treating with a nephrologist, Dr. Cruz. His records note a
   diagnosis of stage III kidney disease and nephrotic syndrome, probably due to diabetic nephropathy. Dr.

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   Cruz attempted to manage Mrs. Orr’s hypertension and diabetes in conjunction with Dr. St. Martin. In
   October 2013, Dr. Cruz noted that Mrs. Orr was also suffering from edema due to the nephrotic
   syndrome. Dr. Cruz started Mrs. Orr on aldactone. In December 2013, Mrs. Orr was hospitalized for
   two days for acute renal failure and bronchitis. During this hospitalization, labs document a glucose of
   473. Mrs. Orr was started on insulin for treatment of her diabetes, and she remained on insulin until the
   time of her death.

           In February 2014, Mrs. Orr presented to the emergency room and was hospitalized for severe
   heart palpitations, shortness of breath, and constant non-radiating chest pain. During this
   hospitalization, Dr. St. Martin changed her anticoagulant therapy from Pradaxa to Xarelto 20mg qd.
   Mrs. Orr had previously complained that Pradaxa caused her GI problems and exacerbated her
   GERD/acid reflux. Note that her PTT/INR was elevated before her first dose of Xarelto (2/19/2014
   1139hours INR 1.7 [0.8-1.2]; PT 19.1 [9.0-12.5]; Xarelto given 2/19/2014 at 1201 hours) Mrs. Orr was
   also treated with Cardizem, Digoxin, and metoprolol, which resulted in a well-regulated rhythm and she
   was ultimately discharged.

            In July 2014, Mrs. Orr went to the emergency room with a complaint of sudden onset of
   constant chest pain with shortness of breath. She was diagnosed with acute heart failure. A chest x-ray
   revealed her lungs were symmetrically hypoinflated. The cardiac silhouette remained enlarged with
   mild peripheral opacities, which suggested a congestive heart failure pattern. Imaging also revealed
   small bilateral pleural effusions. Mrs. Orr was hospitalized for two weeks, during which time a
   thoracentesis was performed on each lung. Xarelto was discontinued one day prior to the procedure.
   600 cc of fluid was removed from the right lung. Xarelto was restarted following the thoracentesis and
   Dr. St. Martin adjusted Mrs. Orr’s dose to 15 mg daily instead of 20 mg (renal dose). Mrs. Orr remained
   on the 15 mg daily dose until the time of her adverse event. In September 2014, Dr. Cruz diagnosed
   Mrs. Orr with stage IV chronic kidney disease.

           After her discharge following the thoracentesis, Mrs. Orr visited with Dr. Kashi Rai, an
   alternative medicine physician with a restricted license, whom she had first seen in February 2014 at the
   urging of her daughter who was also a patient of Dr. Rai’s. Starting in August 2014, Dr. Rai began to put
   Mrs. Orr on several supplements, including a colloidal silver nasal spray, ChromeMate GTF 200 60 C,
   Carnitine 500/600 mg, Magnesium, Blood Pressure-90T, ProOmega 120 caps, Vitanox, Vitamin D
   Supreme 5000, CoQ10, Inflammadone, Immunitone Plus 90 capsules, and Kidney 60T.

           On April 6, 2015, Mrs. Orr’s ophthalmologist noted microaneurysms in both eyes, with mild
   hypertensive retinopathy in both eyes, and borderline diabetic macular edema in the right eye. On
   April 26, 2015, Dr. Cruz noted her blood pressure was at 200/90. Dr. Cruz initiated discussions with
   Mrs. Orr about the eventuality of dialysis within the next year or two. Of the options discussed, Mrs. Orr
   expressed an interest learning more about peritoneal dialysis.

            On April 24, 2015, Mrs. Orr’s husband picked her up from work at Tulane University around 4:30
   p.m., after which they came home, changed, and went to dinner at steakhouse Ruth’s Chris restaurant
   in Metairie (about 20-30 minutes from their home). They were apparently just finishing their meal


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   around 6:30-6:45pm, when Mrs. Orr reported she was having a headache and would like to go home.
   On the way home, she asked that her husband pull the car over only a few blocks from the restaurant so
   she could vomit. She vomited again as they pulled into their driveway at home. She reportedly went up
   to bed to lie down and her husband left to get her some water; when he returned he found Mrs. Orr
   asleep. Assuming they reached home at approximately 7pm, she seems to have slept for at least an
   hour. At some point between 8:30 and 9 p.m., Mrs. Orr woke up and needed help going to the
   bathroom. Her husband helped her to the bathroom, but noticed her gait was unsteady and he had to
   prop her up against the toilet. Concerned, he called his adult daughter who lived about 10 minutes
   away. The daughter arrived around 9 p.m. and immediately observed that her mother needed medical
   attention. Mrs. Orr was still responsive at this point but could not support herself, was incontinent, and
   was insisting that she needed to lie down. EMS was called and arrived around 10 p.m., and she was
   brought to Ochsner Baptist Hospital.

            Upon arrival at Ochsner Baptist (ED Arrival at 2246 hours), Mrs. Orr had left-sided facial
   asymmetry, left arm and leg flaccidity, and trouble responding. Her blood pressure was 252/114. A CT
   scan revealed extensive right lateral ventricular acute hemorrhage with an extension to the right
   ventricle, associated hydrocephalus, and a significant right to left midline shift (1.6 cm) and right-sided
   herniation. Findings were initially observed and immediately discussed with the physician assistant
   taking care of Mrs. Orr in the ER at 2352 hours on 4/24/15 by Dr. Ogden. She was intubated at 0020
   less than an hour after she arrived and 28 mins after her CT scan. Intubation indication was airway
   protection and her status is listed as unconscious. At 2316 hours her PT was 11.4 [9.0 – 12.5] and INR
   1.1 [0.8 to 1.2]. Mrs. Orr was transferred to Ochsner Main Campus for treatment because Ochsner
   Baptist did not have a stroke or neurocritical care unit. A helicopter was not available, so she was
   transported via ambulance.

           The EMS transport to Ochsner Main Campus noted quadriplegia and paresis with weakness, and
   that she was unresponsive. At 01:10 hours, Mrs. Orr arrived at Ochsner Main Campus, where she was
   seen by Dr. Bui, the neurosurgeon, who assigned her a Glasgow Coma Score of 5T. The neurocritical
   care and neurosurgery residents, Drs. Khursheed and Riffle, respectively, met with the family (husband,
   two adult daughters, and adult son). Dr. Khursheed offered the family a very grim prognosis. Medical
   records document that Dr. Riffle, the neurosurgery resident, offered the possibility of putting in bilateral
   extraventricular drains (shunts) to drain the blood/fluid and relieve the pressure; however, after being
   informed that Mrs. Orr was on Xarelto, noted they decided to wait. Dr. Khursheed also documented this
   development in his notes, stating that as there was no known reversal for the effect of Xarelto, they
   would have to wait for the Xarelto to clear, but also noted the “grave prognosis considering the size of
   the hematoma, mass effect, and midline shift.” Around 3:45 a.m., the note from Dr. Khursheed and his
   attending physician, Dr. Mahanna, documents that the last dose of Xarelto is “unknown.” Mr. Orr, the
   decedent’s spouse, testified at his deposition that Mrs. Orr had a routine of taking her Xarelto at
   approximately 7 or 8pm at night while watching television in bed; and that he did not recall Mrs. Orr
   taking her Xarelto on April 24th.

           A second CT scan at 4:25 a.m. on April 25, 2015 revealed a stable (no change from first CT) right
   ventricular hemorrhage with leftward midline shift and right herniation. The vascular neurologist, Dr.

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   Gropen, noted that the stability indicated no significant change from the first CT to the second, and
   nothing to suggest that there was active bleeding at this point. At 2 p.m., Dr. Bui placed the EVD in the
   brain after he reportedly had “given the Xarelto a chance to clear.”

           Mrs. Orr’s condition remained stable for the next two days, with no significant improvement.
   However, on April 28, 2015, Mrs. Orr started to decline. An April 29, 2015 CT showed a large cast of
   hemorrhage remained within the right lateral ventricle, which remained dilated despite the drains, and
   there was diffuse edema within the right parietal, and temporal lobes. Mrs. Orr continued in a
   comatose state and her overall clinical status continued to decline. On April 29, 2015, Dr. Bui offered
   the option of a hemicraniectomy, but with the caveat that it would not return Mrs. Orr to functional
   neurological status; and understanding that she would require full-time care. Family expressed their
   desire for a do not resuscitate (DNR) order; and ultimately decided to begin palliative withdrawal of life
   support on Monday, May 4, 2015. Mrs. Orr died at 3:49 p.m. on May 4, 2015.




   Opinions

           Mrs. Orr was an appropriate candidate for Rivaroxaban. Assuming that her retinal changes
   represented vascular disease, Mrs. Orr’s risk of having a stroke was 7.2% PER YEAR (7.2 per 365 days) as
   calculated from the >90,000 patients Swedish Atrial Fibrillation Cohort Study1 and she had a 10% PER
   YEAR risk of stroke/TIA/systemic embolism based on her CHADSVASC score.

           o    CHF (1pt)
           o    Hypertension (1pt)
           o    Age (1pt)
           o    Diabetes (1pt)
           o    Vascular disease history (1pt)
           o    Female (1pt)

   In contrast, her risk of a fatal bleed ICH was 0.09 per 100 patient years (or 0.09 per 36,500 days) as a
   diabetic on Xarelto.2 This is compelling evidence that Mrs. Orr needed to be on anticoagulant therapy
   and that her risk of stroke far outweighed her risk of ICH. For patients with AFIB with a CHA2DS2-VASc
   score of 2 or higher, there is no scenario where bleed risk exceeds stroke risk – so you accept the bleed
   risk. Mrs. Orr was ultimately dose adjusted to the renal dosing and she did not experience any
   apparent difficulties prior to that time.



   1
     Okumura K, Inoue H, Atarashi H, Yamashita T, Tomita H, Origasa H; J-RHYTHM Registry Investigators.Validation of
   CHA₂DS₂-VASc and HAS-BLED scores in Japanese patients with nonvalvular atrial fibrillation: an analysis of the J-
   RHYTHM Registry. Circ J. 2014;78(7):1593-9. Epub 2014 Apr 22.
   2
     Patel M, Tamayo S, Yuan Z, Sicignano N, Hopf K, Peacock, F. Major Bleeding Among Rivaroxaban Users with
   Nonvalvular Atrial Fibrillation and Diabetes. J Am Coll Cardiol. 2016 April; 67(13_S):733

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            Mrs. Orr’s hypertension was difficult to control even though her physicians prescribed multiple
   medications in an attempt to keep it under control. Mrs. Orr’s risk of bleeding was significant due to her
   uncontrolled HTN; independent of anticoagulant therapy.3 Mrs. Orr’s presentation of hypertension is
   not likely to be Cushing’s response on arrival; her presentation is more consistent with a patient with
   poorly controlled HTN. The fact that she did not have a reduction in heart rate also weighs against
   Cushing’s response.

           In my practice as an emergency room physician, I routinely assess head bleeds. I have to decide
   who gets a cat scan and who doesn’t. If you don’t have a headache, you don’t have a bleed and I don’t
   order a cat scan. Acute head bleeds have terrible headaches. Mrs. Orr first started complaining of a
   headache at dinner on April 24, 2015; this is likely when her head bleed started. The suggestion that
   the bleed started prior to this time and it somehow was undetected by Mrs. Orr is not supported.

       In my experience, when a patient presents to the emergency room with an ICH, there are treatment
   options available to me as a clinician for patients like Mrs. Orr:

           Control blood pressure. Data show it improves outcomes.4
           Intubation. If you cannot intubate someone it increases the damage to the brain.
           Prothrombin complex concentrate (PCC) administration is an option to consider. There is some
            data that it reverses rivaroxaban, although not completely.5 Regardless, however,
            administration of a reversal agent is not likely to have changed the outcome of this case.

       We know that people do worse on warfarin with a reversal agent than a DOAC without a reversal
   agent.6 It’s better to be on any DOAC without a reversal agent than warfarin with a reversal. Nobody
   can say this event would not have occurred had Mrs. Orr been on a different anticoagulant.

           The prognosis of anticoagulant associated intracranial hemorrhage is dismal. In hospital
   mortality rates are approximately 42%.7 Some data suggest that the prognosis for an ICH in a patient on

   3
     Staessen JA, Fagard R, Thijs L, Celis H, Arabidze GG, Birkenhäger WH, Bulpitt CJ, de Leeuw PW, Dollery CT,
   Fletcher AE, Forette F, Leonetti G, Nachev C, O'Brien ET, Rosenfeld J, Rodicio JL, Tuomilehto J, Zanchetti A. (1997).
   Randomised double-blind comparison of placebo and active treatment for older patients with isolated systolic
   hypertension. The Systolic Hypertension in Europe (Syst-Eur) Trial Investigators. Lancet. Sep 13;350(9080):757-64.
   4
     E. S. Eerenberg, P. W. Kamphuisen, M. K. Sijpkens, J. C. Meijers, H. R. Buller, and M. Levi, “Reversal of rivaroxaban
   and dabigatran by prothrombin complex concentrate: a randomized, placebo-controlled, crossover study in
   healthy subjects,” Circulation, vol. 124, no. 14, pp. 1573–1579, 2011; M. Levi, K. T. Moore, C. F. Castillejos et al.,
   “Comparison of three-factor and four-factor prothrombin complex concentrates regarding reversal of the
   anticoagulant effects of rivaroxaban in healthy volunteers,” Journal ofThrombosis andHaemostasis, vol. 12, no. 9,
   pp. 1428–1436, 2014. Hemphill, et al. (2015) “Guidelines for the Management of Spontaneous Intracerebral
   Hemorrhage A Guideline for Healthcare Professionals From the American Heart Association/American Stroke
   Association.” Stroke, July 2015.
   5
     Dhakal P1, Rayamajhi S2, Verma V3, Gundabolu K4, Bhatt VR4. (2016). Reversal of Anticoagulation and
   Management of Bleeding in Patients on Anticoagulants. Clin Appl Thromb Hemost. 2016 Oct 26. pii:
   1076029616675970
   6
     Ruff. CT, Giugliano, RP, Braunwald, E, et al. (2014). Comparison of the efficacy and safety of new oral
   anticoagulants with warfarin in patients with atrial fibrillation: a meta-analysis of randomised trials. Lancet, 383,
   955-962.

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   anticoagulant is better with any DOAC than warfarin.8 Since Mrs. Orr was on rivaroxaban, as she
   complained of GERD with Pradaxa, she was on the safest option she could have.

           As discussed above, Mrs. Orr’s routine was to take her Xarelto dose in the evening around 7 or
   8pm. On April 24, 2015, however, Mrs. Orr went out to dinner with her husband and began
   experiencing adverse symptoms while at dinner. Mr. Orr testified that he did not recall Mrs. Orr taking
   her Xarelto dose that evening. At 2316 hours, Mrs. Orr’s PT was 11.4 [9.0 – 12.5] and INR 1.1 [0.8 to
   1.2]. A PT of 11.4 is consistent with her having taken Xarelto for the last time on the evening of 4/23.



            I incorporate by reference my general report including my qualifications and referenced articles
   and materials. In forming my opinions, I have relied on my expertise and training, the scientific
   literature, and any materials identified in my general report. I have also reviewed the records of Mrs.
   Orr. In forming my opinions, I have used the same method that I use in my practice. All of my opinions
   are offered to a reasonable degree of medical certainty. I reserve the right to supplement my opinions
   as further information becomes available.




                                                                        November 15, 2016
   Frank Peacock, M.D.                                                  Date




   7
     Dowlatshahi D, Butcher KS, Asdaghi N, et al. (2012). Poor Prognosis in warfarin-associated intracranial
   hemorrhage despite anticoagulation reversal. Stroke, 43, 1812-1817; Daverat, J P Castel, J F Dartigues and J M
   Orgogozo. (1991). Death and functional outcome after spontaneous intracerebral hemorrhage. A prospective
   study of 166 cases using multivariate analysis. Stroke. 1991;22:1-6. http://dx.doi.org/10.1161/01.STR.22.1.1;
   Cervera, Á., Amaro, S. & Chamorro, Á. Oral anticoagulant-associated intracerebral haemorrhage.J Neurol. (2012)
   259: 212. doi:10.1007/s00415-011-6153-3.
   8
     Wilson D, Charidimou A, Shakeshaft C., et al. Volume and functional outcome of intracerebral hemorrhage
   according to oral anticoagulant type. American Academy of Neurology, 86, 360-366.

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                               EXHIBIT “A”




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      Curriculum Vitae
      William Franklin Peacock, IV, MD, FACEP




                                           July 11, 2015

 I.    General Biographical Information

       A. Personal

           Date of Birth:

           Education:            1977-81        BS     Alma College
                                 1981-85        MD     Wayne State University
                                 1985-88               William Beaumont Hospital
                                                       Emergency Medicine Residency

                                 Board Eligibility/Certification
                                 1991           Inducted FACEP
                                 1990           ABEM Written & Oral Boards         # 881176


       B. Academic Appointments

           Current Faculty Positions: Baylor College of Medicine

           Previous Faculty Positions: (at other institutions)

           2009-2012 Professor, Cleveland Clinic Lerner College of Medicine / Case Western
                        Reserve University, Cleveland, OH

           2004-2009 Associate Professor, Cleveland Clinic Lerner College of Medicine / Case
                        Western Reserve University, Cleveland, OH

           1996-2005 Clinical Faculty, Metro Health Medical Center, Department of Emergency
                         Medicine, Cleveland, OH.

           1996-2008 Associate Professor, Department of Emergency Medicine, Ohio State
                        University, Columbus, OH.

           1994-2004 Assistant Professor, Cleveland Clinic Lerner College of Medicine / Case
                        Western Reserve University, Cleveland, OH


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          1992-1994 Clinical Faculty, Department of Surgery, University of Michigan, Ann Arbor,
                        MI.

          1988-1994 Attending Physician, Emergency Department, William Beaumont Hospital,
                       Royal Oak, MI.

          Current courtesy Faculty Appointments at other institutions: none

          C. Other advanced training/experience: (with locations, dates and sources of
             support)

             1.          Formal Sabbatical:
             2.          Other specialized training following academic appointment:

          D. Other information

          Honors or Awards:

          2010    American College of Emergency Physicians Best Research Paper Award

          2008    American Association of Clinical Chemistry, Outstanding Speaker Award

          2007    American Association of Clinical Chemistry, Outstanding Speaker Award

          2006    American Association of Clinical Chemistry, Outstanding Speaker Award

          2004    American College of Emergency Physicians Best Research Paper Award

          2004    Recognition and Congratulations from the Ohio House of Representatives for
                  Excellence in Research

          2004    Silver and Gold Award, Cleveland Police and Fire Departments, for The Event
                  Medicine Program

          2002    The Codman Award. Sponsored by JCAHO; for implementation of system wide
                  improvements in the use of ACEI’s for heart failure patients

          2001 Association of Group Medical Association, Models of Excellence Award.
               Innovations in Caring for High Risk Patients: for the care of heart failure.

          1989    Teacher of the Year, Department of Emergency Medicine, William Beaumont
                  Hospital, Royal Oak, MI.

          Other non-academic positions:
          Administrative positions:

          1994-2012      Vice-Chair, Emergency Services Institute, The Cleveland Clinic


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          1996-2012      Medical Director, Event Medicine:
                         2000 - 2012 Cleveland Browns Stadium
                         2002 - 2012 Cleveland Cavaliers Quicken Loans Arena
                         2003 - 2012 Cleveland Indians Progressive Field
                         2008          International Children Olympics
                         2004, 2005    Cleveland Gravity Games

          2005-08        Director, Emergency Cardiology Research Fellowship


          2012-13     Chief Medical Officer, Society of Cardiovascular Patient Care

          2011-12     President, Society of Chest Pain Centers

          2010-11     Vice President, Society of Chest Pain Centers

          2008-10     Co-chair, National Heart Lung and Blood Institute Heart Failure Advisory
                      Board

          2008-09     Member SAEM Guidelines Committee

          2008        Member, Search Committee for Chair, Department of Diagnostic
                      Radiology, Cleveland Clinic

          2008-12     Current Member, Society of Chest Pain Centers Research Committee

          2008-09     Secretary/Treasurer, Society of Chest Pain Centers

          2007        Member, Environmental Care Joint Commission Committee.

          2007        Member, Pharmacy Committee, for JCAHO Response.

          2007-08     Faculty, The Heart Course.

          2007        Program Chair, Society of Chest Pain Centers and Providers, Annual
                      Congress

          2007-12     Board of Directors, Hope for Honduras Orphanage

          2005-12     Heart Failure Committee Chair, Society of Chest Pain Centers

          2000-08     Chairman, Cleveland Clinic Emergency Preparedness Committee

          1998-05     Cleveland Health Network Emergency Department Services Committee.

          1994-98     Director of Clinical Operations, Department of Emergency Medicine, The
                      Cleveland Clinic Foundation, Cleveland, OH.


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          1992-94    Associate Residency Director, Emergency Department, William Beaumont
                     Hospital, Royal Oak, MI.

          1991-93    Chairman, Emergency Medicine Quality Assurance Committee, William
                     Beaumont Hospital, Royal Oak, MI.

          1989-92    Assistant Residency Director, Emergency Department, William Beaumont
                     Hospital, Royal Oak, MI.


    II    Research Information

          A. Research Support (reported by funding received each year)

          2007 Funded Research ------------------------------------------

          PI: Platelet reactivity in ED patients, Accumetrix, Inc                   $40,000

          Site PI: CRUSADE Registry (DCRI) Can Rapid Risk Stratification
          of Unstable Angina Patients Suppress Adverse Outcomes
          with Early Implementation of ACC/Aha Guidelines:
          The Crusade National Quality Improvement Initiative                       $40,000

          PI: Cobalt Albumin Binding for Cardiac Ischemia Marker study,
          Ischemia Technologies                                                     $25,000.00

          Site PI: ADHERE Heart Failure Registry, Scios, Inc                        $52,800.00

          PI: IMPACT study. Cardiodynamics, Inc                                     $76,000.00

          Site PI: Rescue-AMI, Aventis Pharmaceuticals, Inc                         $48,000.00

          PI: Point of care cardiovascular ischemia marker efficacy, Biosite, Inc   $75,000.00

          PI: Serum Marker of acute Cerebrovascular accidents, Biosite, Inc         $75,000.00

          PI: PROACTION Trial, Scios, Inc                                           $86,000.00

          Site PI: Internet Tracking Registry for Acute Coronary Syndromes, Cor
          Pharmaceuticals, Inc                                                       $3,000.00

          Site PI: Early Trial, Cor Pharmaceuticals, Inc.                           $34,000.00

          Site PI: ST Guard. Marquette Co.                                          $30,000.00

          PI: Evaluation of the Clinical Performance of the Triage Cardiac Plus
          Device Cardiac Plus, Biosite, Inc.                                        $35,000.00


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          PI: Clinical Utility of Biomarkers in the Assessment of
          Cerebrovascular Disease, Biosite, Inc                                  $75,000.00

          PI: OFFLOAD, Continuous Ultrafiltration versus Standard Therapy
          for the Treatment of Acute Decompensated Heart Failure in the
          Emergency Department Observation Unit, CHF Solutions, Inc.             $269,377.55

          Site PI: FFAu in ACS (OCD); The Concentration of Unbound Free
          Fatty Acid (FFAu) In Patients who present to the Emergency
          Department with Emphasis on Patients with Acute Coronary
          Syndromes. Ortho Clinical Diagnostics, Inc.                            $95,052.76

          PI: IMAGINE: ACB Test for Ischemia; The Evaluation of the
          Albumin Cobalt Binding Test for Use as an Aid to the Diagnosis
          of Cardiac Ischemia. Ischemia Technologies, Inc.                       $30,171.00

          PI: Troponin Pilot (DCRI); Crusade “Vein to Brain” Troponin
          Quality Assessment Survey: Cor Therapeutics, Inc                       Non-funded

          Site PI: Heard-IT, Innovise, Inc.                                      $44,320

          National PI: MIDAS; MPO in the Diagnosis of AMI, Biosite, Inc          $21,871

          PI: Observation Unit nesiritide, Scios, Inc                            $20,800

          PI: IMA registry, Wampole, Inc                                         $1725

          Site PI: STAT REGISTRY: Studying the treatment of acute
          hypertension STAT, The Medicine’s Company                              $27,000

          Site PI: ARROW: Multi-center Study of the Utility of Myeloperoxidase
          (MPO), Cardiac Placental Growth Factor (cPIGF), Choline,
          and other Novel Cardiac Biomarkers in the Assessment of Risk in
          Patients with Suspected Acute Coronary Syndromes, Abbott, Inc.         $58,716

          Site PI: Rescue, Aventis, Inc.                                         $6,888

          Site PI: IMA sepsis, Inverness, Inc                                    $7,400

          Site PI: Velocity, The Medicines Co                                    $18,960

          Site PI: Leukotrienes for Asthma, Sepracor, Inc                        $38,950

          Site PI: Immulyte, Siemens, Inc.                                       $19,126

          PI: Pulmonary effect of nesiritide in CHF, Scios, Inc.                 $6,700



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          PI: Abdominal pain markers, Biosite, Inc                                            $16,240

          2008 Research funding ---------------------------------------------------------

          National PI: Best Expert Agreement for Care of Occult MI
          Nationally (BEACON) Registry, Heartscape, Inc.
          10 million total funding over 4 years                                                $2.5 million

          PI: MIDAS, Myeloperoxidase and Multimarkers in the Diagnosis of
          Acute of Coronary Syndrome, Biosite, Inc                                            $17,550

          Site PI. Biomarkers in Acute Heart Failure (BACH).                                  $77,725
          Site PI. Pro-BNP for Diagnosis and Prognosis in Patients Presenting
          with Dyspnea. Roche, Inc.                                                           $28,000.

          Site PI. Evaluation of the Effect of Ultrashort-Acting Clevidipine
          in the Treatment of Patients with Severe Hypertension (VELOCITY),
          The Medicine’s Co.                                                                  $28,000

          Site PI. Multi-Center Study of the Utility of Myeloperoxidase (MPO),
          Cardiac Placental Growth Factor (cPlGF), Choline, and other Novel
          Cardiac Biomarkers in the Assessment of Risk in Patients with
          Suspected Acute Coronary Syndrome (Arrow). Abbott, Inc.                             $150,000

          Site PI. The Ischemia Modified Albumin In Diagnosing Ischemic
          New Events (IMAGINE) Study. Ischemia Technologies, Inc.                             $67,500

          Site PI. Zemiva for the Evaluation of Unclear Symptoms in
          Acute Coronary Syndrome (Zeus). Molecular Insight, Inc.                             $16,000

          2009 Research funding ---------------------------------------------------------

          North American PI: CHOPIN: Copetin helps in the early
          detection of patients with acute myocardial infarction. Brahms, Inc.                $67,000

          Site PI: RELAX: A Phase 11/111, multicenter, randomized,
          double-blind, placebo-controlled study to evaluate the safety and
          efficacy of Relaxin in subjects with acute heart failure, Novartis, Inc.            $23,000

          National PI, CLUE: Evaluation of IV Cardene(Nicardipine) and
          Labetalol Use in the Emergency Depatment (CLUE), EKR, Inc.
          Total funding for multicenter trial                                               $1,000,000

          International PI: FASTRACK: Evaluation of the Clinical Utility of
          a High Sensitivity Cardiac Troponin (cTn) Assay in Patients
          Presenting to the Emergency Department with Signs and Symptoms
          consistent with Acute Coronary Syndromes (ACS), Nanosphere, Inc.                    $69,000



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          National PI: Best Expert Agreement for Care of Occult MI
          Nationally (BEACON) Registry, Heartscape, Inc. 10 million
          total funding over 4 years                                                   $1,000,000

          National PI: Myeloperoxidase and Multimarkers in the Diagnosis
          of Acute of Coronary Syndrome (Midas), Alere, Inc.                             $17,550

          2010 - 2011 Research funding ---------------------------------------------

          National PI: Multi-Markers in the Diagnosis of Acute Coronary
          Syndrome (MIDAS) – Sample Procurement Cohort 3 (Midas 3).
          Alere, Inc.                                                                    $44,350


          Site PI: Emergency Department Sample Registry. Abbott, Inc                     $47,000

          Site PI: A Phase 11/111, multicenter, randomized, double-blind,
          placebo-controlled study to evaluate the safety and efficacy of Relaxin
          in subjects with acute heart failure. Novartis.                                $25,000

          Site PI: Evaluation of the clinical utility of a high sensitivity cardiac
          Troponin (cTnl) Assay in Patients presenting to the emergency
          department with signs and symptoms Consistent with Acute
          Coronary Syndromes (ACS). Roche, Inc                                           $66,000

          Site PI: Immulite and Centaur Platforms: D Dimer: Exclusion
          Claim External Sites Clinical Protocol. Siemens, Inc.                          $42,000

          International PI: A Safety and Efficacy Study of Blood Pressure
          Control in Acute Heart Failure – A Pilot Study (PRONTO),
          The Medicine’s Company                                                         $12,741

          International Co-PI: Copeptin helps in the early detection of patients
          with acute myocardial infarction (Chopin). Brahm’s, Inc.                       $33,000

          Site PI: A placebo controlled, randomized, double-blind, fixed-dose,
          multicenter, phase 11b study to investigate the efficacy and tolerability
          of BAY 58-2667. Bayer, Inc.                                                    $7,162

          Site PI: Action Registry, Acute Coronary Treatment and Intervention
          Outcomes Network.                                                              $6,000

          Site PI: Multi-Center Study of the Utility of Myeloperoxidase (MPO),
          Cardiac Placental Growth Factor (cPIGF), Choline, and other Novel
          Cardiac Biomarkers in theAssessment of Risk in Patients with
          Suspected Acute Coronary Syndrome. Abbott, Inc.                                $38,000

          National PI: Best Expert Agreement for Care of Occult MI


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          Nationally (BEACON) Registry, Heartscape, Inc. 10 million
          total funding over 4 years                                           $1,000,000

          Site PI. D-DIMER Exclusionary Clinical Study on Coagulation
          and Chemistry Systems. Siemens, Inc.                                    $14,000

          Site PI: Romicat II grant/Acrin Blood substudy                          $10, 400

          3. Indicate what support, if any, would be transferred to BCM
          NONE

          B. National Scientific Participation: (include dates and titles)

          1. Journal editorial boards, etc.

             2009-12        Editorial Board, The Medical Roundtable.

             2009-12        Member, Editorial Board, Senior Editor, Congestive Heart Failure

             2009-12        Editorial Board: www.wikidoc.org

             2005-2012      Editorial Board: Congestive Heart Failure

             1994-1998      Editor, Topics in Emergency Medicine

             1993-1994      Academic Editor, Michigan College of Emergency Physicians, News
                            and Views

             1991-94        Emergindex: Section Editor

             1989-94        Poisindex: Section Editor.

          2. Review Panels, etc.

             Invited Journal Reviewer:
             Clinical Chemistry
             Journal of the American College of Cardiology
             American Heart Journal
             Congestive Heart Failure
             Cleveland Clinic Journal of Medicine
             JAMA
             Academic Emergency Medicine

             Reviewer, Research Proposals. National Medical Research Council (Singapore).
             IRGmay035 – Use of high frequency 12 lead-ECG to predict adverse cardiac events
             in patients presenting to the Emergency Department with chest pain/discomfort with
             non diagnostic ECG and normal Troponin level. September 3, 2007



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             Reviewer, National Medical Research Council (Singapore), 2008

             Reviewer, Research proposals: Food and Health Bureau, Government Secretariat. The
             Government of the Hong Kong special Administrative Region, The People’s
             Republic of China. June 2010.

             Task Force Member. The Joint Commission in collaboration with the American
             Heart Association. Advanced Certification in Heart Failure Care Task Force. July,
             28-29, 2010.

             Member, American College of Cardiology Foundation NCDR Management Board,
             ACTION Registry –GWTG Quality Improvement (QI). March 2010.

             Member, Executive Committee, AKINESIS, 2010.

             Abstract Reviewer, European Society of Cardiology, 2010.

             Member, Romicat II, Executive AdvisoryCommittee, 2010.

             Moderator, Society of Academic Emergency Medicine Annual Meeting, Pulmonary
             Embolism Session, 2011.

             Grant Reviewer: US NIH-SBIR grant program. 2011-12

          2. Professional societies, etc., elected positions, etc.

             Memberships:

             American College of Emergency Physicians

             Society of Academic Emergency Medicine

             Society of Chest Pain Centers and Providers

             Ohio College of Emergency Physicians

             Academy of Emergency Medicine

             State and National Offices:

             2012-13     Chief Medical Officer, Socity of Chest Pain Centers and Providers

             2011-12     President, Society of Chest Pain Centers and Providers

             2010-11     Vice President, Society of Chest Pain Centers and Providers

             2009        Secretary Treasurer, Society of Chest Pain Centers and Providers



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             2008      Program Director, Society of Chest Pain Centers and Providers 11th
                       Annual Congress

             2008      National Heart Lung Blood Institute, Cardiac Imaging, Expert Panel,

             2008      Chairman, Atrial Fibrillation committee for Society of Chest Pain Centers

             2008-10   Co-Chair, Steering Committee, Euro-STAT

             2008      FDA Advisory Committee Member / Consultant. American Association
                       for Clinical Chemistry Conference for Development of Cardiac Troponin.
                       March 4, 2008.

             2007      Faculty, Recent Advances in the ED Management of Cardiovascular
                       Emergencies, Sponsored by the University of Massachusetts Medical
                       School

             2007      Faculty, Strategies and Therapies for Reducing Ischemic and Vascular
                       Events

             2007-10   Society for Academic Emergency Medicine (SAEM) Guidelines
                       Committee

             2007-08   Chairman, 2008 Program Committee, Society of Chest Pain Centers

             2007-08   Chairman, Heart Failure Guideline Committee, Society of Chest Pain
                       Centers

             2005-06   Society for Academic Emergency Medicine (SAEM) Industry Relations
                       Task Force

             2005-12   Board of Trustee’s Society of Chest Pain

             2005-09   Faculty, The Heart Course, Brighham and Women’s Hospital, Boston,
                       MA

             2005      ACEP Ad-hoc Policy Review Committee: Asymptomatic Hypertension

             2005      ACEP Ad-hoc Policy Review Committee: ACS/NSTEMI Guidelines

             2005      Secretary, Research Section, American College of Emergency Physicians
                       (ACEP)

             2005      Chairman, The Cleveland Clinic Foundation, Emergency Preparedness
                       Committee.

             2005-06   Board of directors: Society of Chest Pain



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             2004       Secretary: Research Section, American College of Emergency Physicians

             2004-05    Steering Committee: Initiate Heart Failure Education Program, University
                        of Michigan

             2004-05    Co-chairman: IMPACT AM Education Program, Medical Decision Point

             2003-06    Chairman, The Society of Chest Pain Centers and Providers, Heart Failure
                        Subcommittee

             2003-04    Chairman: The Cleveland Clinic Annual Emergency Cardiology Meet at
                        the Summit Conference

             2003-07    Steering Committee: ADHERE Decompensated Heart Failure Registry

             2002-07    Executive Steering Committee: CRUSADE Registry

             2002-12    Steering Committee, Emergency Medicine Cardiac Research and
                        Education Group, International

             1999-01    Society of Academic Emergency Medicine, National Affairs Task Force

             1998-00    Steering Committee: The Society of Chest Pain Centers and Providers.

             1997-98    Society of Academic Emergency Medicine, Future of Emergency
                        Medicine Committee

             1993-94    Michigan College of Emergency Physicians, Board of Directors.

             1993-94    Michigan College of Emergency Physicians, Program Committee.

             1993-94    Michigan College of Emergency Physicians, Education Committee.

             1993-95    American College of Emergency Physicians, Residency Committee

             1993-95    Society of Academic Emergency Medicine, Residency Committee

             1991-93    Michigan College of Emergency Physicians, Legislative Committee.

             1990-94    Society of Academic Emergency Medicine, Council of Emergency
                        Medicine Residency Directors, Alternate member.

             1990-94    American College of Emergency Physicians, Section of Residency
                        Directors, Alternate member.

    4.    Invited lectures, presentations, research seminars:

          Presentations at National, Regional, and State Meetings:


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          Lidocaine Levels During Closed Chest Cardiac Massage in Dogs; ACEP Scientific
          Assembly, Traverse City, MI, July, 1987.

          Pharmacology I; EXPO, Michigan State Paramedic Conference, Kalamazoo, MI, 1988.

          Pharmacology II; EXPO, Michigan State Paramedic Conference, Kalamazoo, MI, 1988.

          Gastric Decontamination; Emergencies in Medicine Conference, Boyne, MI, Feb. 1989.

          Gastric Decontamination; Emergencies in Medicine Conference, Park City, UT, March
          1989.

          Traumatic Rupture of the Aorta: Combined Surgical/Emergency Medicine Grand
          Rounds, William Beaumont Hospital, Royal Oak, MI, 1990.

          Post-Splenectomy Sepsis: Combined Surgical/Emergency Medicine Grand Rounds,
          William Beaumont Hospital, Royal Oak, MI. 1990

          Cardiac Disease in the Alcoholic Patient; Emergencies in Medicine Conference, Boyne,
          MI., Feb 1990.

          Toxicology of Cyanide; Emergencies in Medicine Conference, Boyne, MI., Feb 1990.

          Cardiac Disease in the Alcoholic Patient; Emergencies in Medicine Conference, Park
          City, UT. March 1990.

          Toxicology of Cyanide; Emergencies in Medicine Conference, Park City, UT, March
          1990.
          Current Trends in Toxicology; Emergencies in Medicine Conference, Park City, UT,
          March 1991.

          Case Presentation Conference, Discussant; Society for Academic Emergency Medicine
          Annual Meeting, Washington DC, May 1991.

          Current Trends in Toxicology; Emergencies in Medicine Conference, Park City, UT,
          March 1992.

          Current Controversies in Toxicology; Emergencies in Medicine Conference, Park City,
          UT, March 1993.

          Controversies in Toxicology; Emergencies in Medicine Conference, Park City, UT,
          March 1994.

          Toxicology Emergencies; Grand Rounds, St. Alexis Hospital, Cleveland, OH, Oct, 1994.

          Frequent Errors in the Emergency Department Management of ENT Emergencies;
          Emergencies in Medicine Conference, Park City, UT, March 1995.


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          Acute Poisoning: Is There a Place for Extracorporeal Therapy, Intensive Care
          Nephrology and Chronic Dialysis Therapy Update Conference, The Cleveland Clinic,
          Cleveland, OH, April, 1995.

          Frequent Errors in the Emergency Department Management of Toxicologic Emergencies;
          Emergencies in Medicine Conference, Park City, UT, March 1996.

          Approach to the Undifferentiated Poisoned Patient, Emergency Medicine Grand Rounds,
          MetroHealth Medical Center, Cleveland, OH, April 1996.

          Extracorporeal Therapy in the Poisoned Patient: Emergencies in Medicine Conference,
          Park City, UT, March 1997.

          Predictors of Unsuccessful Treatment for Congestive Heart Failure in the Emergency
          Department Observation Unit. 7th Annual Midwest Regional Emergency Medicine
          Research Symposium, Akron, OH, April, 1997.

          Predictors of Unsuccessful Treatment for Congestive Heart Failure in the Emergency
          Department Observation Unit. Society for Academic Emergency Medicine Annual
          Meeting, Washington DC, May, 1997.

          Lower Extremity Trauma, Emergency Medicine Grand Rounds, MetroHealth Medical
          Center, Cleveland, OH, June 1997.

          Advances in Toxicology. Emergencies in Medicine Conference, Park City, UT, March
          1998.

          Inpatient Versus Outpatient Management of Heart Failure. International College of
          Emergency Physicians Annual Meeting, March 1998.

          Inpatient Versus Outpatient Management of Heart Failure. 8th Annual Midwest Regional
          Emergency Medicine Research Symposium, Columbus, OH, April 1998.

          Troponin T: Insensitive for Outcome Prediction in Low Risk Suspected Acute Coronary
          Syndrome ED Observation Unit Patients. 8th Annual Midwest Regional Emergency
          Medicine Research Symposium, Columbus, OH, April 1998.

          Normal CK with Elevated CK MB Predicts Increase Complication Rate in Patients with
          Suspected Acute Coronary Syndromes. 8th Annual Midwest Regional Emergency
          Medicine Research Symposium, Columbus, OH, April 1998.

          Troponin T: Insensitive for Outcome Prediction in Low Risk Suspected Acute Coronary
          Syndrome ED Observation Unit Patients. Society for Academic Emergency Medicine
          Annual Meeting, Chicago, Ill, May 1998.




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          Normal CK with Elevated CK MB Predicts Increase Complication Rate in Patients with
          Suspected Acute Coronary Syndromes. Society for Academic Emergency Medicine
          Annual Meeting, Chicago, IL, May 1998.

          Otolaryngologic Emergencies, Emergency Medicine Grand Rounds, MetroHealth
          Medical Center, Cleveland, OH, Oct 1998.

          Inpatient Versus Emergency Department Observation Unit Management of Heart Failure.
          American College of Emergency Physicians Research Forum. San Diego, CA, Oct 1998.

          Patient Outcome After Implementation of an Acute Heart Failure Management Program
          in an Emergency Department Observation Unit. Heart Failure Summit IV. Cleveland,
          OH. Oct. 1998.

          Heart Failure, Emergency Medicine Grand Rounds, MetroHealth Medical Center,
          Cleveland, OH, Nov 1998.

          What’s New in Heart Failure. Emergencies in Medicine Conference, Park City, UT,
          March 1999.

          Patient Outcome and Costs after Implementation of an Acute Heart Failure Management
          Program in an Emergency Department Observation Unit. International Society of Heart
          and Lung Transplantation. San Francisco, CA. April, 1999.

          Outcomes After Stress Testing in CDU Patients with Suspected Acute Coronary
          Syndromes. Society for Academic Emergency Medicine Annual Meeting, Boston, MA,
          1999.

          Cardiac Revascularization. Emergency Medicine Grand Rounds. MetroHealth Medical
          Center. June 1999.

          Troponin T: Implications for Clinical Practice. Panel Discussion at a Special Cardiology
          Grand Rounds. Department of Cardiology. The Cleveland Clinic. August 1999.

          Heart Failure. Emergency Medicine Grand Rounds. MetroHealth Medical Center. Aug
          1999.

          Emergency Department Observation Unit Heart Failure Treatment Protocol Decreases
          Adverse Outcome Rates. Heart Failure Society of America Annual Meeting, San
          Francisco, CA, Sept 1999.

          Bioimpedance Monitoring for Detecting Pulmonary Fluid in Heart Failure: Equal to
          Chest Radiography? Heart Failure Society of America Annual Meeting, San Francisco,
          CA, Sept 1999.
          Emergency Department Observation Unit Heart Failure Treatment Protocol Decreases
          Adverse Outcome Rates. 72nd American Heart Association Scientific Session, Atlanta,
          GA, Nov 1999.



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          Bioimpedance Monitoring for Detecting Pulmonary Fluid in Heart Failure: Equal to
          Chest Radiography? 72nd American Heart Association Scientific Session, Atlanta, GA,
          Nov 1999.

          What’s New in Heart Failure. Emergencies in Medicine Conference, Park City, UT,
          March 2000.

          Urologic Stone Disease. Emergency Medicine Grand Rounds. MetroHealth Medical
          Center. May 2000.

          Doubling of CKMB Predicts Increased Complication Rates. Society for Academic
          Emergency Medicine Annual Meeting, San Francisco, Ca, 2000.

          Epistaxis and TMJ Disorders. Emergency Medicine Grand Rounds. MetroHealth Medical
          Center. May 31, 2000.

          Introduction to Toxicology. Emergency Medicine Resident Lecture. July 11, 2000.

          Emergency Department Perspectives: Opportunities in Heart Failure Treatment. Heart
          Failure Society of America, 2000 Annual Meeting, Boca Raton, FL.

          What’s New and Cool in Heart Failure. Emergencies in Medicine Conference, Park City,
          UT, March 2001.

          The Incidence of Elevated Cardiac Enzymes in Decompensated Heart Failure. Society for
          Academic Emergency Medicine Annual Meeting, Atlanta, GA, May 2001

          Double Therapy: Thrombolytics and 2B3A Antagonists for Acute MI. Advance in the
          Care of Acute Coronary Syndromes. Emergency Medicine Cardiac Research and
          Education Group. Atlanta, GA, May 2001.

          Orthostatic Changes in Bioimpedance Parameters Identify Decompensated Heart Failure
          in Emergency Department Patients. Heart Failure Society of America, Washington D.C.,
          September, 2001.
          Advances and the Treatment of CHF. Emergency Medicine Research and Education
          Group. St. Louis, MO 2002.
          What you can do about CHF. Emergency Medicine Research and Education Group.
          Seattle, WA 2002.

          The Use of the CPC for the Management of CHF. Fifth Annual Society of Chest Pain
          Centers and Providers. New Haven, CT 2002.

          St. Marks Hospital, Salt Lake City, UT, March 5, 2002, Grand Rounds: BNP: Ready for
          Prime Time.
          Detroit Receiving Hospital, Detroit, MI, March 28, 2002, Emergency Department Grand
          Rounds: BNP: Ready for Prime Time.



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          University of North Carolina, Charlotte, NC, April 24, 2002, Emergency Department
          Grand Rounds: BNP: Ready for Prime Time.


          Mid-America Heart Institute, Kansas City, MO. May 22, 2002, Grand Rounds: BNP: Use
          in the Observation Unit.


          AMI in the ED. Advanced Preceptorship in Cardiovascular Medicine. May 29 – June 2,
          2002.
          Leheigh Valley Hospital, Allentown, PA, Department of Emergency Medicine, July 18,
          2002, Grand Rounds: Heart Failure Diagnosis.
          Leheigh Valley Hospital, Allentown, PA, Department of Emergency Medicine, July 18,
          2002, Grand Rounds: BNP: Ready for Prime Time.
          Course Director: Combination Therapy for Acute Myocardial Infarction Guidelines.
          Centocor Roundtable Discussion. August 22, 2002, Cleveland OH.
          Hartford Hospital, Hartford, CT, Department of Cardiology Grand Rounds, August 20,
          2002. BNP: Ready for Prime Time.
          MetroHealth Medical Center/The Cleveland Clinic Departments of Emergency Medicine,
          Grand Rounds, August 28, 2002, Atrial Arrhythmias
          NHS Hospital, Omaha, NB, September 6, 2002, Grand Rounds: BNP: Ready for Prime
          Time.
          AMI in the ED: Latest Developments in Fibrinolytic Therapy. The Latest Developments
          in Thrombolysis. Satellite symposium to ACEP Annual Scientific Assembly. Seattle,
          WA, Nov, 2002.
          Acute Decompensated Heart Failure: the Economics and Treatment. Satellite Symposia,
          American Society of Hospital Pharmacists Annual Meeting. Atlanta, GA. December
          2002.
          American Society of Hospital Pharmacists. Emergency Department Treatment of Acute
          Decompensated Heart Failure. December 9, 2002, Atlanta, GA
          Observation Medicine and Heart Failure and Nesiritide in Heart Failure Emergency
          Medicine Grand Rounds, Saginaw MI, January 21, 2003.
          Congestive Heart Failure Symposium. Assessment and Treatment of Heart Failure in the
          Emergency Department. Texas Transplant Institute. San Antonio, TX, Feb 7, 2003.
          Emergencies in Medicine, March 5, 2003. Salt Lake City. “The Newest Stuff in Heart
          Failure”.
          BNP and Congested Heart Failure. Grand Rounds Buffalo General Hospital, April 22,
          2003.
          BNP and Heart Failure, San Francisco, CA, May 9, 2003, Society for Chest Pain Centers
          and Providers Satellite Symposium.



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          Society of Chest Pain Centers and Providers. May 10, 2003. San Francisco CA.
          Expanding the Role of the Chest Pain Center: Applying lessons learned from chest pain
          management to improving stroke in congestive heart failure care.
          Perspectives on the Diagnosis of Ischemia. Boston, MA, May 29, 2003.
          Lytics in the Living Room: Improving Outcomes with Prehospital Thrombolysis.
          Canadian Heart Research Centre, 6th Annual Symposium, Toronto, Ontario, June 1, 2003.
          The primary cares physician’s role in bioterriosm and response. National Foundation for
          Infectious Disease. A course for practicing clinicians. June 6, 2003, Cleveland OH.
          Heart Failure in the ED: Getting it Right, Diagnostic Challenges and Options. Emergency
          Medicine and Cardiology: The Critical Interface. The Cleveland Clinic June 14, 2003
          Therapeutic Ultrafiltration for the Management of Fluid Overload: Current and Future
          Role. The Offload Study. September 2003
          Impedance Cardiography (ICG): The Next Vital Sign Technology for the ED. American
          College of Emergency Physicians Annual Scientific Assembly. Co-chairs: WF Peacock,
          RL Summers. October 2003, Boston, Massachusetts.
          Managing Cardiac Emergencies: 2003. American College of Emergency Physicians
          Annual Scientific Assembly, October 2003, Boston, Massachusetts.
          Perspectives on the Diagnosis of Ischemia. American College of Emergency Physicians
          Annual Scientific Assembly, October 2003, Boston, Massachusetts.

          ADHERE: Improving Heart Failure Treatment. Key Biscayne, FL, Oct 3-5, 2003

          Emergency Therapy in Heart Failure: South Pointe Hospital, Cleveland, OH, Oct 9, 2003.

          Ischemia Modified Albumin: Education and Usage, Boston, MA, Oct 13, 2003.
          The Use of BNP in the Emergency Department. Boston, MA, Oct 14, 2003.

          Impedance Cardiography in the Emergency Department, Boston, MA, Oct 14, 2003.

          New Directions in Heart Failure Care. Boston, MA, Oct 14, 2003.

          Emerging Trends in Heart Failure, Louisville, KY. Unitech program. Oct 24, 2003.

          Decongesting the ED, Warren, OH, Nov 11, 2003.
          BNP: Ready for Prime Time. Maui, HI, Dec 9, 2003
          BNP: Ready for Prime Time. Honolulu, HI, Dec 10, 2003.
          Take it to the Heart: from heart failure to cardiogenic shock. The Institute for Emergency
          Medical Education. Washington Chapter of the American College of Emergency
          Physicians. Current Concepts in Emergency Care, 24th edition. Wailea Marriott Resort,
          Maui Hawaii, December 10, 2003.
          Oh my aching face! ENT for the ED. The Institute for Emergency Medical Education,
          Washington Chapter of the American College of Emergency Physicians. Current



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          Concepts in Emergency Care, 24th edition. Wailea Marriott Resort, Maui Hawaii,
          December 11, 2003.
          Acute Decompensated Heart Failure: Exciting New Treatment Options. Live Web
          Conference with Telephone Audio, January 2004.
          BNP: Ready for Prime Time. Dayton, OH, Feb 17, 2004.
          Management of Heart Failure in the Emergency Department, February 19, 2004.
          The ADHERE Registry Investigator Meeting: Stat Diagnosis and Treatment of heart
          failure. February 20-22, 2004, Atlanta GA.

          BNP: Ready for Prime Time. Salt Lake City, UT. Mar 3, 2004.

          BNP: Ready for Prime Time. Salt Lake City, UT. Mar 5, 2004.

          Impedance Cardiography: Centers for Medicare and Medicaid Studies, Mar 15, 2004.

          New Treatments for Heart Failure. Orlando, FL, Mar 30, 2004.

          Heart Failure: The ED Can Finally Make A Difference. Park City Emergencies in
          Medicine Conference, March 2004. Park City, Utah.

          The ADHERE: STAT Diagnosis and Treatment of Heart Failure, April 16-18, 2004.
          Fairmont Olympic Hotel, Seattle Washington.
          Advancing the Standard of Care: Cardiovascular Emergencies and Advancing the
          Standard of Care: Neurovascular Emergencies, May 17, 2004, Emergency Medicine
          Cardiac Research and Education Group, Audio Digest Foundation.
          Rapid identification and treatment of high-risk chest pain patients: the CRUSADE
          initiative. May 11, 2004, International Hotel, Cleveland OH.
          Presented at the Emergency Medicine / Cardiac Research and Education Group
          Conference, May 17, 2004.
           Advancing the standard of care: cardiovascular and neurovascular emergencies. May 17-
          18, 2004, Wyndham Place Resort and Spa. Orlando FL.
          New Treatments for Heart Failure. Sarasota, FL, May 18, 2004.

          New Treatments for Heart Failure. Orlando, FL, May 19, 2004.

          BNP: Ready for Prime Time, Evansville, IL, June 8, 2004.

          New Treatments for Heart Failure. Emergency Medicine Grand Rounds, University of
          Massachusetts, June 16, 2004.

          The ADHERE Registry: Improving the Medical Management and Quality of Care of
          Heart Failure Patients. New Orleans, LA, July 16, 2004.



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          BNP: Role in Heart Failure Diagnosis. Toronto, Ontario, Sep 14, 2004.

          Advances in Heart Failure. Emergency Medicine Grand Rounds. Sagamore Hills
          Hospital, Cleveland, OH, Sep 16, 2004.

          Emergency Department Management of the Patient Presenting with Chest Pain. CCF
          Heart Center Program for Visiting Professors (Korea, Taiwan, and Malaysia). Cleveland,
          Ohio, October 5, 2004.
          Managing Cardiovascular Emergencies. Department of Emergency Medicine and
          Cardiology. Renaissance Cleveland Hotel, Cleveland OH, October 5, 2004.

          Advances in Heart Failure. The Role of Pharmacotherapy. San Francisco Marriott, San
          Francisco CA, October 16, 2004

          What Do the Numbers Mean? A CME Symposium on Cardiac Markers. The W Hotel,
          San Francisco CA, October 17, 2004.

          EMCREG International. Advancing The Standard of Care: Cardiovascular Neurovascular
          Emergencies and Point-of-Care Testing. San Francisco CA, October 17-19, 2004.

          Cost Effective Management of Acute Decompensated Heart Failure. HCA Clinical
          Cardiovascular Management Network. Surge to Excellence, Ponte Vedra, FL, October
          21, 2004.

          Heart Failure With an Elevated Troponin is Associated with Increased Morbidity and
          Mortality: An ADHERE Registry Analysis. ACEP Research Forum. October 18, 2004.
          San Francisco CA.

          Early Use of Nesiritide in the Emergency Department is Associated with Improved
          Outcome: An ADHERE Registry Analysis. ACEP Research Forum. October 18, 2004.
          San Francisco CA.

          Biosite National Sales Meeting. Palm Springs, FL 2004.
          IMPACT Forum, Cleveland OH, November 30, 2004.
          Heart Failure. Emergency Medicine Grand Rounds, Albert Einstein Medical Center,
          November 25, 2004.
          Atrial Arrhythmias. Emergency Medicine Grand Rounds, MetroHealth Medical Center.
          Advances in Heart Failure. The Institute for Emergency Medical Education and
          Washington Chapter of the American College of Emergency Physicians. 25th Silver
          Anniversary Edition. Current Concepts in Emergency Care, Marriott Wailea Resort,
          Maui Hawaii, December 5-10, 2004.
          The Emergency Department Evaluation of Acute Dyspnea. Biosite Annual Meeting.
          Palm Springs 2004.



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          2nd Asian Pacific Congress of Heart Failure Symposium. Understanding Sick Hearts:
          New and Evolving concepts of Heart Failure. Singapore, January 10, 2005.

          Acute Decompensated Heart Failure. Lakewood Hospital Emergency Medicine Grand
          Rounds. Cleveland OH, January 12, 2005.

          Vascular Emergencies. The Heart Course Emergency. Miami FL, February 18-20, 2005.

          Heart Failure. The Heart Course Emergency. Miami FL, February 18-20, 2005


          Heart Failure. Sixteenth Annual Emergency Medicine for the Critically Ill and Injured
          Conference. Orlando FL, February 23-26, 2005.

          Emergency Diagnosis and Treatment of ADHF. EMCREG Satellite symposium of
          ACEP, Spring Congress. Royal Pacific Resort. Universal Orlando, Orlando FL. March 4,
          2005.
          CRUSADE Quality Initiative and Biomarkers. Biomarkers in Heart Disease: What Every
          Health Care Practitioner Needs to Know. La Jolla CA, March 26, 2005.


          Whats New in Heart Failure. Emergencies in Medicine, 23rd Edition. The Lodge at the
          Mountain Village, Park City, UT, March 7, 2005.

          Emerging Therapies for the Treatment of Acute Decompensated Heart Failure. Brown
          Palace Hotel, Denver CO, March 12, 2005.
          Non-ST Segment Elevation MI – The Standard of Care and Where we Need to Improve.
          Intercontinental Hotel, Cleveland OH, April 26, 2005.
          Ventricular Arrhythmias. Emergency Medicine Grand Rounds, MetroHealth Medical
          Center, Cleveland OH, April 13, 2005.
          The Impact of Rapid Biomarkers for Enhancing Cardiovascular Patient Management.
          Satellite Symposium to the Society of Chest Pain 8th Annual Congress. Orlando, FL,
          April 28, 2005.
          The Diagnostic, Prognostic, and Therapeutic Roles of BNP in the Management of Heart.
          Atlanta GA, May 6, 2005.
          Heart Failure Therapy. Emergency Medicine Cardiac and Education Group.
          Cardiovascular and Neurovascular Emergencies. SAEM Satellite Symposium. New York
          City, NY. May 23, 2005.
          Acute Decompensated Heart Failure in the Emergency Department Observation Unit,
          June 16, 2005, Rochester, NY, University of Rochester Observation Unit Conference.

          The Diagnostic Prognostic and Therapeutic Roles of BNP in the Management of Heart
          Failure: Center for Health Care Education, University of California, San Diego, June 18,



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          2005.

          Cardiology Grand Rounds: Observation Unit Care – A New Paradigm in the Treatment
          of Acute Decompensated Heart Failure, July 15, 2005. Flagler Hospital, St. Augustine,
          FL.

          Early Vasoactive Therapy and Clinical Outcomes in Patients with Heart Failure.
          Cardiology Grand Rounds, Henry Ford Hospital, July 14, 2005

          Cardiology Grand Rounds, Management of Acute Decompensated Heart Failure. St.
          Mary’s Hospital, Reno, NV, September 1, 2005

          Diagnosis and Management of Acute Decompensated Heart Failure, Cardiology Grand
          Rounds, University of California-Davis, Sacramento, September 2, 2005.

          The Use of Heart Sounds for Early Diagnosis in Acute Decompensated Heart Failure.
          Center for Medicare and Medicaid Studies, September 13, 2005.

          Proteins for Profit and Fun! The Institute for Emergency Medical Education and the
          Washington Chapter of the American college of Emergency Physicians. Wailea Marriott,
          Maui, Hawaii, December 4-9, 2005.

          Proteins for Profit and Fun! The Institute for Emergency Medical Education and the
          Washington Chapter of the American college of Emergency Physicians. Wailea Marriott,
          Maui, Hawaii, December, 2005

          Myths and Miracles in Acute Heart Failure: What Do We Really Know? The Institute for
          Emergency Medical Education and the Washington Chapter of the American college of
          Emergency Physicians. Wailea Marriott, Maui, Hawaii, December, 2005

          San Francisco Focus Group on Emergency Cardiovascular Care. San Francisco, CA,
          December 15, 2005.

          Whats New in Heart Failure. Emergencies in Medicine, 24th Edition. The Lodge at the
          Mountain Village, Park City UT, Feb 28, 2006
          How to Achieve and Maintain Ideal Volume Status in Heart Failure Patients: Meet the
          Experts. American College of Cardiology, March 13, 2006.

          Defining the Role of Thrombolytics in the Management of STEMI, Satellite Programs
          (CME), March 22, 2006.

          Emergency Medicine Perspective on AMI, CHF, Hypertensive Urgencies, May 20, 2006,
          Cleveland Clinic, Preceptorship, Cardiovascular Coordinating Center. Cleveland, OH.
          The 2006 Heart Course Harvard Medical School, March 30, 2006, Miami, FL.




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          April 2006. American Medical Association. Coding and Procedural Terminology
          Meeting. Redefinition of Ionized Calcium, Speaker, W. Frank Peacock.

          Emerging Non-Inflammatory Markers in Acute Care – MPO, IMA and Others. Second
          Annual Symposium. Biomarkers in Heart Disease: What Every Health Care Practitioner
          Needs to Know. San Diego Marriott Hotel and Marina, San Diego, CA, April 1, 2006.

          U.S. News & World Report Health Summit: Emergency Preparedness. Panelist/Presenter.
          The View from Inside Major Medical Centers, April 18, 2006, Washington DC.

          BNP Clinical Applications and Economic Consideration. (Audioconference) Biosite.
          April 27, 2006. Selecting the Right BNP for Your Institution, Clinical and Technical
          Consideration Conference. Boston MA

          Moderator, Satellite Symposium at the Ninth Congress of Chest Pain Centers, May 4,
          2006. The Evolving Role of MPO and Multimarker Strategies in the Evaluation of
          Cardiac diseases in the Emergency Department. Boston, MA

          Society of Chest Pain Centers. Economic and Reimbursement of Heart Failure Care,
          Thursday, May 4, 2006.

          Moderator, Heart Failure Program, Society of Chest Pain Centers, May 4, 2006.

          Moderator, Heart Failure Program, Society of Chest Pain Centers, May 5, 2006.
          Peacock WF, Moffa, D. Oral Abstract Presentation. Electronically detected S3 in acute
          decompensated heart failure compared with physical examination and chest x-ray. May 5,
          2006.

          Leading Minds. Leading the Way in Clinical Performance. New Risk Stratification
          Models in Heart Failure and ACS Incorporating: BNP, Tnl, Creatinine, BUN. May 5,
          2006, Boston MA.

          Heart Failure Program: Economics and Reimbursement of HF Care. Ninth Congress of
          Chest Pain Centers, Boston, MA, May 3-6, 2006

          ED Performance Benchmarks….is the Tail Wagging the Dog? (Debate)SAEM Annual
          Meeting, May 18-21, 2006, San Francisco, CA.

          Satellite Symposium Society of Academic Emergency Medicine. Controversies in
          Emergency Cardiology. Presenter: Battle of The Ischemia Markers. May 20, 2006, San
          Francisco, CA.

          Moderator, Satellite Symposium Society of Academic Emergency Medicine.
          Controversies in Emergency Cardiology. Determining Hemodynamic Status Noninvasive
          vs Invasive Strategies. May 20, 2006, San Francisco, CA.

          May 25, 2006. Cardiology Grand Rounds, Waukegan IL.



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          Cleveland Clinic Event Medicine Program Presents, Covering the Crowd: Current
          Concepts in Disaster Management. W. Frank Peacock, Speaker. Thrombolytics: Should
          They Be Considered Pre-hospital? June 7-8, 2006, Cleveland Ohio.

          Canadian Association of Emergency Physicians International Conference of Emergency
          Medicine. Controversies in Acute Decompensated Heart Failure, June 4, 2006.

          Discussion of Multimarker Testing & Myeloperoxidase (MPO) in ACS, June 29, 2006,
          Valley View, Ohio. Sponsored by The Center for Healthcare Education.

          Floyd Memorial Hospital & Health Services Grand Rounds, July 18, 2006.Speaker on
          Current Controversies of Acute Decompensated Heart Failure Management.

          Discussion of Multimarker Testing & Myeloperoxidase (MPO) in ACS. July 24, 2006,
          Chicago, IL. Sponsored by The Center for Healthcare Education.

          Acute Coronary Syndromes: The Emergency Physician’s View. American Association of
          Clinical Chemists Annual Meeting, Chicago IL, July 26, 2006.

          American College of Cardiology. Satellite Program. Defining the Role Thrombolytics in
          the Management of ST-segment Elevation Myocardial Infarction. Satellite Program
          broadcasted on the Heart.org. (http://www.dheart.org\article\661279.d#).

          September 10, 2006. Optimizing treatment strategies for multiple acute decompensated
          heart failure patient types. A case-based symposium. Heart Failure Society of America,
          Seattle WA.

          September 12, 2006. How to Manage Acute Decompensated Heart Failure in the
          Emergency Department. How to Session. Heart Failure Society of America. Seattle, WA.

          September 28, 2006. Heart Failure in the Emergency Department. Southpointe Hospital,
          Cleveland, OH.

          October 9, 2006. Emergency Department Management of Acute Coronary Syndromes:
          Survive.

          October 11, 2006. Selecting the right BNP for your institution. Clinical and Technical
          Considerations.

          October 11, 2006. Strive Critical Pathways. Emergency Medicine Management of Acute
          Coronary Syndromes: Including the Observation Unit.

          October 16, 2006. Moderator, ACS and Biomarker Debate: Which to choose, so the
          patient doesn’t lose. American College of Emergency Physicians, New Orleans, LA.

          Lessons Learned from the Recent Pandemic Flu Drill. Conducted at The Cleveland
          Clinic. Impact, Prevention, Response to Pandemic Avian Flu: A Discussion with Experts.
          Philadelphia, Pennsylvania. November 15, 2006


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          MetroHealth Emergency Department Grand Rounds, Cardiovascular controversies.
          November 22, 2006.

          December 5, 2006. Tools for diagnosing and controversies in managing acute heart
          failure. Current Concepts in Emergency Cardiac Care, Maui, Hawaii.

          December 13, 2006. Department of Emergency Medicine Grand Rounds, MetroHealth
          Medical Center, Cardiac Biomarkers.

          January 11, 2007. Emergency Department Management of Acute Coronary Syndrome.
          Myocardial Infarction. Lawrence, KS.

          January 18, 2007. The AHA/ACC Guidelines: The View from the Emergency
          Department. Cleveland, OH.

          January 30, 2007. Emergency Department Management of Myocardial Infarction.
          Brooklyn, NY

          Rapid coronary reperfusion with a fibromylytic approach and ST-elevation myocardial
          infarction. February 8, 2007.

          Rapid coronary reperfusion with a fibromylytic approach and ST-elevation myocardial
          infarction. February 22, 2007.

          MPO, IMA, and other emergent acute markers. Third Annual Biomarkers in Heart
          Disease, University of California, San Diego. March 3, 2007.

          Acoustic Cardiography and BNP Utility. 3rd Annual Biomarkers in Heart Disease,
          University of California, San Diego. March 4, 2007.

          March 5, 2007. Emergencies in Medicine Conference, Conference Director.

          March 7, 2007. Challenges and Controversies in the Management of Heart Failure.
          Emergencies in Medicine Conference. Park City, UT.

          March 8, 2007. Lytics for PCI and Lytics versus PCI for STEMI. Emergencies in
          Medicine Conference, Park City, UT.

          March 25, 2007. Troponin in Daily Practice: Do cardiologist and ED physicians agree?
          New Orleans, LA.

          March 26, 2007. Lessons Learned from Katrina and Medical Aspects of Disaster
          Planning. American College of Cardiology, New Orleans, LA.

          March 26, 2007. Thrombolytics in the management of myocardial infarction. Clinical
          Trial Results. American College of Cardiology, New Orleans, LA.




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          April 10, 2007. Heart Attacks: April 10th Edinburgh International Science Festival. Royal
          Scotland Museum. Heart Attacks: Killers in Disguise. Edinburgh, Scotland.

          April 14, 2007. Emergency Department and interventional cardiology teams for acute
          coronary syndromes expert panelists.

          Moderator, Heart Failure Management in the ED Program, Tenth Congress of Chest Pain
          Centers, Nashville TN, April 27, 2007.

          Late-breaking Clinical Trials: Recent literature stolen from other conferences. Tenth
          Congress of Chest Pain Centers, Nashville TN, April 27, 2007.

          New Strategies for Acute Decompensated Heart Failure. Newark NJ, May 8, 2007.

          A New Paradigm in the Treatment of Acute Decompensated Heart Failure. Emergency
          Department Grand Rounds, Hackensack University Medical Center, Hackensack NJ,
          May 9, 2007.

          Observation Unit Heart Failure Management, Emergency Department Grand Rounds,
          Overlook Hospital, Newark NJ, May 9, 2007/

          ST-segment elevation myocardial infarction management. A Life Flight Annual
          Conference, Cleveland Ohio, May 10, 2007.

          Diagnosis and Management of Heart Disease: The Emergency Physician’s Dilemma, The
          Cardiac Spectrum: Risk Assessment Diagnosis and Management, The American
          Association of Clinical Chemist, Chicago IL, May 11, 2007.

          Risk Stratification Acute Myocardial Infarction, Cardiology Grand Rounds, Research
          Center Hospital, Kansas City MO, May 30, 2007.

          Acute Risk Stratification Myocardial Infarction, Kings Daughter Hospital, Cardiology
          Grand Rounds, Ashland KY, May 30, 2007.

          BNP: Who Needs It? Debate at the Heart Failure Club, Ohio State University, Columbus
          OH. May 31, 2007.

          Appropriate Use of Therapies in Acute Decompensated Heart Failure Based on Patient
          Specific Characteristics at the Updates in Cardiology Conference, Chicago IL, June 1,
          2007.

          State of the Art Lecture, Use of Integrated Biomarkers and Acute Chest Pain, Second
          International Symposium of Integrated Biomarkers in Cardiovascular Disease. Berlin
          Germany, June 22, 2007

          State of the Art Lecture, Inflammatory Diseases of the Heart. Panel Discussant. Second
          International Symposium of Integrated Biomarkers in Cardiovascular Disease. Berlin
          Germany, June 22, 2007


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          Managing Low Level Troponin. The American Association of Clinical Chemist, Annual
          Meeting. July 15, 2007.

          What the ER Needs from the Lab. Theatre in the Booth. American Association of
          Clinical Chemist, Beckman Coulter. July 18, 2007.

          ST-segment elevation myocardial infarction with a lytic approach. Sponsored by PDL,
          July 18, 2007.

          Point of Care in the ER. American Association of Clinical Chemist Annual Meeting,
          Point of Care Symposium, 2007.

          Acute Heart Failure Management, Long Island, NY, July 24, 2007.

          Grand Rounds, Acute Heart Failure Management, Sandlebrook New Jersey Hospital, July
          25, 2007.

          Grand Rounds, Acute Decompensated Heart Failure, St. Frances Hospital, Newark NJ,
          2007.

          Risk Stratification Acute Myocardial Infarction, Colmery-Oneil, Veterans Administration
          Hospital, Cardiology Grand Rounds, Topeka KS, August 23, 2007.

          Point of Care in the Emergency Department, Cleveland OH, September 5, 2007.

          Interpretation of BNP Levels in Acute Care. At the Expanding The Role of BNP in the
          Management of Acute Heart Failure Satellite Symposium. Heart Failure Society of
          America Annual Meeting, September 17, 2007.

          Acute Decompensated Heart Failure at The Advanced Emergency Medicine Acute Care
          Medicine and Technology Conference, Atlantic City, NJ, September 26, 2007.

          Go Direct to the Acute Decompensated Heart Failure Therapy at the Breathe Conference,
          Mason OH, September 28, 2007.

          American College of Emergencies Physicians (ACEP). The pressure is on – taking it off:
          When? How? How much? With what? The current ED omimenterrium for
          pharmacologic management of acute life threatening blood pressure elevation. The good
          news and the bad news about current treatment options. Landmark Advances and Critical
          Challenges in Emergency Medicine Base Therapy of Acute Elevation in Systematic
          Blood Pressure Symposium. October 9, 2007.

          Knockout at the Needle. Hot Topics in Emergency Medicine Debate Series. Chairman.
          Tuesday, October 9, 2007.

          Chairman, Astra Zenca Physician Advisory Board, Seattle WA. October 9, 2007.



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          Updates in Acute Coronary Syndromes. Risk Assessment and Treatment Strategies.
          Cleveland OH. October 18, 2007.

          Syracuse General Hospital Grand Rounds. Observation Unit Heart Failure. Syracuse NY.
          October 22, 2007.

          American Heart Association Meeting. Emergency Department Hypertension Vascular
          Biology Working Group. Orlando, FL, November 1, 2007.

          Society of Chest Pain Centers and Provider. Chairman, Acute Decompensated Heart
          Failure Guideline Committee, Denver CO. November 17, 2007.

          Magic Markers Review of Impact in Biomarkers in Emergency Department. Emergencies
          in Medicine, Maui HI. December 5, 2007.

          Acute Pressure Syndromes from Threat to Therapy 2007 Update. The pressure is on.
          Taking it off. When, how and how much? San Francisco CA. December 8, 2007.

          Stat Registry. Emergency Department Hypertension. Miami FL. January 11, 2008.

          Acute Coronary Syndrome Update. Metropolitan Grill. January 15, 2008.

          Society of Chest Pain and Providers Board of Directors Annual Meeting. Tampa FL.
          January 24, 2008.

          Society of Critical Care Medicine Satellite Symposium. Acute Decompensated Heart
          Failure. Chairman. February 4, 2008.

          Venous Thrombolytic Disease Prophylaxis. Las Vegas NV. Sanifi-Aventis. February 9,
          2008.

          Committee meeting. Food and Drug Administration. High Sensory Troponin White Paper
          Board. February 12, 2008.

          University of California, San Diego, Biomarker Meeting. Heard-It. The use of acoustic
          electrocardiographic analysis in ACS. March 1, 2008.

          University of California, San Diego, Biomarker Meeting. Heard-It. Review of Acute
          Ischemia Markers. March 5, 2008.

          Chairman, Emergencies in Medicine Conference. March 5 – 12, 2008.

          American College of Cardiology. 80 Lead EKG Satellite Symposium. March 29, 2008.

          American College of Cardiology. High Sensory Troponin Satellite Symposium. April 2,
          2008.




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          Acute Decompensated Heart Failure. Richmond VA. April 22, 2008.

          Chairman, Society of Chest Pain Centers and Providers Annual Congress. April 23 - 28,
          2008.

          Chairman, The Kingdom of Chest Pain Satellite Symposium at Society of Chest Pain
          Centers and Providers. April 24, 2008.

          Society of Chest Pain Centers and Providers Satellite Symposium. Acute Decompensated
          Heart Failure Review. Chairman. April 25, 2008.

          Society of Chest Pain Centers and Providers. Application of 80-Lead ECG. April 26,
          2008.

          American Pharmacy Association. Clevidipine Review. Houston TX. May 8, 2008.

          Acute Decompensated Heart Failure Review. Houma LA. May 12, 2008.

          Oschner Clinic, Cardiology Grand Rounds Observation Unit Heart Failure Management.
          May 13, 2008.

          Emergency Department Application of 80-lead EKG. Charlotte NC. May 16, 2008.

          Clevidipine for the Treatment of Acute Hypertension in Elderly Patients: An analysis
          from the VELOCITY study. SAEM Annual Meeting, Washington DC. Selected for
          moderated poster presentation. May 29, 2008.

          Acute Heart Failure Syndromes: Evolving Therapy in the ED. EMCREG International,
          SAEM-Approved Satellite Symposium, Washington, DC. May 30, 2008.

          Jaffe AS, Peacock WF, Wu AHB. Managing Low Level Troponin Results: Case Study
          Presentations. Interactiver Workshop. AACC Scientific Programme, Washington DC,
          July 2008.

          Management of Heart Failure. Grand Rounds Metrohealth Medical Center Emergency
          Medicine Residency. June 4, 2008.

          American Association of Clinical Chemistry. Washington DC. Satellite Symposium.
          High Sensory Troponin to the Emergency Medicine Perspective. July 17, 2008

          American Association of Clinical Chemistry. Washington DC. How to Manage Low
          Troponin Levels Panel Discussion. July 18, 2008.

          Vascular Blood Working Group. Grand Rounds, Methodist Hospital, Philadelphia PA.
          Acute Management of Hypertension. August 6, 2008.




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          Biomarkers for Heart Failure. Emergency Medical Associates. September 15, 2008.

          Speaker, Northeast Ohio Section AACC presents Diagnosis and management of heart
          disease: The Emergency Medicine Doctor’s Dilemma. Independence Ohio., September
          18, 2008.

          Emory University School of Medicine Department of Emergency Medicine presents State
          of the Art: Observation Medicine in the Emergency Department – Atlanta, GA,
          November 21, 2008.

          Peacock WF, EDICT Panelist. Acute Coronary Syndromes Evidence-Supported
          Strategies for Optimizing Mortality and Aligning Emergency and Vascular Interventional
          Care for STEMI and NSTEMI-Science Translated into Practice. Sponsored jointly by
          CMEducation Resources and the University of Massachusetts Medical School. November
          22, 2008.

          Anker SD, Peacock F, Müller C, Nowak R, Anand I, Di Somma RS, Filippatos G, Hogan
          C, Möckel M, Neath SX, Ng L, Ponikowski P, Richards M, Wu AHB, Landsberg J,
          Clopton, Maisel A. Late-Breaking Clinical Trials. BACH Multinational: Mid-Regional
          pro-Adrenomedullin (proADM) vs BNP and NTproBNP as Prognosticator in Heart
          Failure Patients. American Heart Association Scientific Sessions. November 9-12, 2008,
          New Orleans, LA.

          Course Co-Director: Peacock, WF. Platelet Response in Acute Coronary Syndrome.
          October 18, 2008. Cleveland Clinic, Beachwood OH.

          Grand Rounds Cleveland Clinic Metrohealth Emergency Medicine Residency Program.
          Review of Congestive Heart Failure. January 7, 2009.

          Peacock WF, Cleveland OH. Management of heart Failure in the Emergency Room.
          Poster Presentation. American College of Cardiology, March 30, 2009.

          5th Annual Biomarkers and Heart Disease: What every healthcare provider needs to
          know. University of California, San Diego. Your mother is presenting with chest pain
          again? April 25, 2009.

          Universal Medical Center of Southern Nevada. Grand Rounds, Vascular Dysfunction
          Sequelae in acute hypertension. May 13, 2009.

          Peacock F, Nowak R, Neath S, Christenson R, Clopton P, DiSomma S, Anker S, Maisel
          A. ED prediction of short term mortality in acute heart failure: results of the international
          BACH Trial. 2009 Academic Emergency Medicine Consensus Conference, May 13,
          2009, New Orleans, LA. P

          Society of Academic Emergency Medicine Annual Meeting. Chairman, Acute Pulmonary
          Embolism session. May 14, 2009.

          Argentina Virtual Conference. Short Stay Management of Heart Failure. May 31, 2009.



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          Grand Rounds. Department of Emergency Medicine. Saint Andrea Hospital, Rome Italy.
          July 2, 2009.

          American Association of Clinical Chemists. Clinical Management of low level Troponin.
          July 19, 2009. Chicago IL.

          National Heart Lung and Blood Institute. Co-chair, Heart Failure Panel. August 19-20,
          2009. Washington DC.


          7th Annual Emergency Medicine Conference, Cardiac markers: What every emergency
          doctor needs to know. September 22, 2009. Atlantic City, NJ.

          Update on the Current Management of Severe Acute Hypertension. Cleveland OH,
          September 23, 2009.

          The Sepsis Forum: Discussions for Identification, Treatment & Monitoring. Boston MA,
          Colonnade Boston Hotel, October 4, 2009.

          American College of Emergency Physicians. Research Forum. Oral Abstract
          Presentation: Objective identification of chest pain patients at very low risk of 30-day
          outcomes. October 6, 2009.

          American College of Emergency Physicians, Scientific Assembly. Chairman, The Sepsis
          Forum. October 6, 2009.

          Debakey Medical Center. Houston TX. Cardiology Grand Rounds. Short stay
          management of decompensated heart failure. October 8, 2009.

          Parkview Hospital, Grand Rounds. Fort Wayne IN. Acute hypertension in the hospital
          setting. October 20, 2009.

          October 26, 2009. National, Heart, Blood and Lung Institute. Chair, Heart Failure
          Committee.

          Spectrum Hospital, Department of Cardiology Grand Rounds. Short stay management of
          heart failure. November 2, 2009.
          Noember 3, 2009, Spectrum Health Medical Center Grand Rapids, Department of
          Cardiology Observation Unit, Care of Heart Failure Patients.

          6th International Congress of Cardiology on the Internet. Symposium on Chest pain Units
          2009. Evaluation and Management of Patients with Acute Heart Failure in the Chest Pain
          Unit / Observation Unit. September 1st – November 30th, 2009.

          Institute for Emergency Medical Education. Maui, HI. Ophthalmologic Emergencies.
          December 9, 2009.




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          Institute for Emergency Medical Education. Maui, HI. FDA Approved Technologies:
          Should you use this? December 9, 2009.

          December 9, 2009. Emergencies in Medicine Conference, Maui Hawaii. Review of
          Opthamalogies.

          December 10, 2009. Emergencies in Medicine Conference, Maui Hawaii. Advances in
          Cardiology.

          March 1 - 5, 2010.Emergencies in Medicine Conference, Park City, Utah. Course
          Director.

          March 3, 2010. Emergencies in Medicine Conference, Park City, Utah. Advances in
          Cardiology.

          March 4, 2010. 28th Annual Emergencies in Medicine Conference, Park City, Utah.
          Management of Acute Hypertension.

          March 9, 2010. Flushing Hospital Medical Center, Grand Rounds, New Jersey, New
          York. Advances in Management of NSTEMI.

          March 19, 2010, Shady Grove Adventis Hospital, Rockville Maryland Grand Rounds,
          Systems Approach to ACS Management.

          April 7, 2010, Food and Drug Administration Consultation regarding High Sensitivity
          Troponin.

          April 9, 2010. Kansas City Missouri. Shawnee Mission Hospital, Grand Rounds, Heart
          Failure Management in the Observation Unit.

          April 26, 2010. Diagnosis and Treatment of Acute and Chronic Heart Failure: 2010 State
          of Affairs.

          April 26, 2010. Nice, France, Biomarker Meeting for the European Society of
          Cardiology. Managing Fluid Balance and Heart Failure using biomarkers.

          April 27, 2010. Nice, France. Biomarker Meeting for the European Society of
          Cardiology. Troponins and Beyond: What can we expect from the new ischemia
          biomarkers.

          May 18, 2010. Necessary for Medical Education. CME Webcast. Rural Management of
          Acute Coronary Syndromes.

          June 3 – 6, 2010. SAEM Abstract(s). Volume 17, May 2010.

          July 13, 2010. Food and Drug Administration. Markers and Necrosis Consultation.




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          September 15, 2010. Atlantic City. Emergency Medical Associates. Presentation: The
          Future of Emergency Cardiology.

          Bettering Resource Education and Treatment of Heart Failure Effectively (BREATHE)
          7th Annual BREATHE Heart Failure Symposium Program presented by St. Elizabeth
          Healthcare, Northern Kentucky and BREATHE Heart Failure Nurse Association. Heart
          Failure and Emergency Medicine, Marriott Cincinnati at River Center, Covington
          Kentucky, October 8, 2010.

          Chairperson. Clinical Decisions in the Emergency Department: Pros and Cons of
          managing oral anticoagulant-associated hemorrhages and acute traumatic coagulopathy.
          Boston Marriott Copley Place, Boston, MA, June 3, 2011.

          Society of Academic Emergency Medicine Annual Meeting. Boston, MA. Serial
          Adrenomedullin and Outcomes in Patients Presenting to the Ed with Dyspnea. June 3,
          2011.

          American College of Emergency Physicians Research Forum, San Francisco CA. Can
          point of care be as good as the central lab? October 16, 2011.

          Grand Rounds. Central Baptist Heart and Vascular Institute. Lexington, KY. Optimal
          Antithrombotic Care for Patients w/ Acute Coronary Syndromes Across the Continuum
          of Angina, NSTEMI, and STEMI. Jan 18, 2012.

          Grand Rounds. Lourdes Medical Center of Burlington County, Willingboro, NJ. Optimal
          Antithrombotic Care for Patients w/ Acute Coronary Syndromes Across the Continuum
          of Angina, NSTEMI, and STEMI. February 1, 2012.

          Emergencies in Medicine conference. New Anticoagulants for Atrial Fibrillation. Park
          City, Utah. March 7, 2012.

          Emergencies in Medicine conference. High Sensitivity Troponin. Park City, Utah. March
          5, 2012.

          NCDR Annual meeting. Action Registry-GWTG Program Updates and Case Scenarios.
          Chicago, IL. March 21, 2012.

          American College of Cardiology; Poster discussant. Chicago, IL. March 26, 2012.

          Grand Rounds. Niagara Falls Memorial Medical Center. Optimal Antithrombotic Care
          for Patients w/ Acute Coronary Syndromes Across the Continuum of Angina, NSTEMI,
          and STEMI. Niagara, NY, April 19, 2012.

          Society of Chest Pain Centers Annual Congress: Opening Address. Orlando, FL, May 2,
          2012.




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          University of San Diego, 8th Annual Biomarkers in Cardiovascular Disease; What Every
          Healthcare Provider Should Know. Evaluating Mom while awaiting lab tests of POC
          testing. San Diego, CA. May 12, 2012.

          United States Senate Briefing. When Minutes Matter: Critical Care Diagnostics. June 21,
          2012

          Emergency Medical Associates Annual Meeting. Advances in ED Biomarkers. Atlantic
          City, NJ, September 7, 2012.

    10-19-2013   ED ADHF Fluid Management. SATELLITE SYMPOSIUM AHF
                 MANAGEMENT FROM ER ADMISSION TO REHABILITATION CLINIC
                 DISCHARGE. Montecompatri, Italy.

    10-18-2013   Chairman of the Session: Hot biomarkers in the ER. Annual Global Research on
                 Acute Conditions Team Conference, Rome, Italy

    10-18-2013   Adrenomedullin. Annual Global Research on Acute Conditions Team
                 Conference, Rome, Italy

    10-17-2013   Chairman of the Session HOW TO OPTIMIZE THE MANAGEMENT OF
                 PATIENTS WITH AHF IN THE ER FOCUS ON IV VASODILATORS
                 UTILITY. Annual Global Research on Acute Conditions Team Conference,
                 Rome, Italy

    10-17-2013   Chairman of the Session: How Gal 3 improves HF. Annual Global Research on
                 Acute Conditions Team Conference, Rome, Italy

    10-17-2013   Galectin 3. Annual Global Research on Acute Conditions Team Conference,
                 Rome, Italy

    10-16-2013   Chairman of the Session: pathways: Utility of PO. Annual Global Research on
                 Acute Conditions Team Conference, Rome, Italy

    10-16-2013   HsTn in ED decision making. Annual Global Research on Acute Conditions
                 Team Conference, Rome, Italy

    10-16-2013   Body hydration status and basis of BIVA. Annual Global Research on Acute
                 Conditions Team Conference, Rome, Italy

    10-16-2013   Chairman of the Session: ED PATHWAYS DECISION MAKING: UTILITY OF
                 POCT BIOMARKERS. Focus on Shortness of Breath Panel. Annual Global
                 Research on Acute Conditions Team Conference, Rome, Italy

    10-16-2013   Chairman of the Session: EKG surface utility in ED. Annual Global Research on
                 Acute Conditions Team Conference, Rome, Italy




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    10-16-2013   Emergency Department Pathways Decision Making: Utility of Point of Care
                 Biomarkers. Annual Global Research on Acute Conditions Team Conference,
                 Rome, Italy

    10-14-2013   Unmet needs and new options in the treatment of acute heart failure. Early
                 diagnosis and treatment matter. Acute Cardiovascular Care Association of the
                 European Society of Cardiology, Annual Acute Cardiac Care Congress, Madrid,
                 Spain.

    10-02-2013   Grand Rounds, Severance Hospital. Clinical Utility of Cardiac Biomarkers in
                 AMI and Heart Failure / Brief introduction of NGAL and CRS. Seoul, Korea.
    10-01-2013   Grand Rounds, Asan Medical Center. Clinical Utility of Cardiac Biomarkers in
                 AMI and Heart Failure / Brief introduction of NGAL and CRS. Seoul, Korea.

    09-30-2013   Grand Rounds. Clinical Utility of Cardiac Biomarkers in AMI and Heart Failure /
                 Brief introduction of NGAL and CRS. Samsung Medical Center. Seoul, Korea.

    09-30-2013   Grand Rounds. Seoul National University Hospital. Clinical utility of NGAL /
                 Cardiorenal in Emergency Practice. Seoul, Korea.

    09-30-2013   Grand Rounds. Biomarker (BNP, NGAL, TnI). Korea Ansan Hospital. Seoul,
                 Korea.

    09-27-2013   Grand Rounds. Clinical Utility of NGAL. Medical Development Division,
                 Kementerian Kesihatan Malaysia

    09-27-2013   Presentation at Ministry of Health. The Clinical Utility of NGAL. Putrajaya,
                 Malaysia.

    09-26-2013   Utility of Cardiac Biomarkers in the Emergency Department. College of
                 Emergency Physicians, Kuala Lumpur, Malaysia.

    09-26-2013   Clinical utility of NGAL / Cardiorenal in Emergency Practice. College of
                 Emergency Physicians, Kuala Lumpur, Malaysia.

    09-25-2013   Grand Rounds. National Heart Institute. High Sensitivity Troponin.

    09-25-2013   Grand Rounds. High Sensitivity Troponin, Sri Kota Specialists Medical Centre.
                 Selangor, Malaysia.

    09-18-2013   Atrial Fibrillation: What will you do when its your grandmother. Advanced
                 Emergency and Acute Care Medicine Conference. Atlantic City, NJ.

    09-16-2013   8th International Congress of Cardiology on the Internet. Acute Heart Failure.
                 www.fac.org/8cvc




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    09-13-2013   Panelist: Cardiac Evaluation - Chest Pain Panel. Observation Medicine
                 Conference, Detroit, MI

    09-13-2013   Heart Failure Treatment in the ED OU. Observation Medicine Conference,
                 Detroit, MI.

    09-11-2013   Chairman: STATE OF THE ART: Biomarkers II. Mediterranean Emergency
                 Medicine Conference, European Society of Emergency Medicine, Marseille,
                 France.

    09-11-2013   STATE OF THE ART: Biomarkers II. High sensitive troponin--‐CKMB -‐ Dying,
                 Myoglobin --‐ Useless. Mediterranean Emergency Medicine Conference,
                 European Society of Emergency Medicine, Marseille, France.

    09-10-2013   STATE OF THE ART: Cardiovascular Emergencies. Mediterranean Emergency
                 Medicine Conference, European Society of Emergency Medicine, Marseille,
                 France.

    09-01-2013   Biomarkers in heart failure: update 2013. Natriuretic peptides: how to use them?
                 European Society of Cardiology Annual Meeting, Amsterdam, Netherlands.

    09-03-2013   One heart, two lungs: together forever. European Society of Cardiology Annual
                 Meeting, Amsterdam, Netherlands.

    08-21-2013   Rivaroxaban for Deep Venous Thrombosis and Pulmonary Embolism. EM/IM
                 Joint M&M, Baylor College of Medicine.

    07-30-2013   It’s A New Day: Using Cardiac Troponin in Evolving Clinical Practice. American
                 Association of Clinical Chemists Annual Meeting and Clinical Lab Expo,
                 Houston, TX.

    07-31-2013   The Future Role of the Laboratory In Acute Cardiovascular Care: Will Point-of-
                 Care Take the Lead in the Emergency Department? Which Cardiovascular
                 Biomarkers Does the Emergency Physician Need Fast? American Association of
                 Clinical Chemists Annual Meeting and Clinical Lab Expo, Houston, TX.



          C.      Publications

          1.      Full Papers:

          a.      published in peer review journals

          1. Peacock WF; Guarded Irrigation, Emergency Medicine 1998;20(6):94.

          2. Sayah A, Peacock WF, Overton D; End-Tidal CO2 Measurement in the Detection of


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           Esophageal Intubation During Cardiac Arrest, Annals of Emergency Medicine 1990;
           19(8):857-860.

          3.Peacock, WF: Mefenamic Acid; The Poisindex, 65th edition, Denver, Micromedex Co,
            Aug, 1990.

          4.Peacock, WF: Warfarin; The Poisindex, 67th edition, Denver, Micromedex Co, Nov,
            1990.

          5.Peacock WF; Cardiac Disease in the Alcoholic Patient, Emergency Clinics of North
            America, 8(4), 775-791, Nov 1990.

          6.Peacock, WF: Ibuprofen; The Poisindex, 68th edition, Denver, Micromedex Co, 1991.

          7.Peacock, WF: Angiotensin Converting Enzyme Inhibitors; The Poisindex, 69th edition,
            Denver, Micromedex Co, Aug, 1991.

          8.Schenden LW, Peacock WF, Tintinalli JE: Aspiration of Radiolucent Foreign Body
            Annals of Emergency Medicine 1992;21(6):771.

          9.Peacock, WF: Humeral Shaft Fractures, The Emergindex, Denver, Micromedex Co,
            1992.

          10. Peacock, WF: Amphetamines; The Poisindex, Denver, Micromedex CO, 1992.

          11. Peacock, WF: Mefenamic Acid; The Poisindex, Denver, Micromedex CO, 1992.

          12. Tintinalli JE, Peacock, WF, Wright MA: Medical Clearance of Psychiatric Patients.
            Annals of Emergency Medicine 1994;23(4):859.

          13. Peacock, WF, Otolaryngologic Emergencies, in Tintinalli JE, Ruiz E (eds):
            Emergency Medicine, A Comprehensive Study Guide, 4th ed. New York, McGraw
            Hill, 1995.

          14. Peacock WF, Urological Stone Disease, in Tintinalli JE, Ruiz E (eds): Emergency
            Medicine, A Comprehensive Study Guide, 4th ed. New York, McGraw Hill, 1995.

          15. Lucchessi, GM, Cerasani, C, Peacock, WF, Jackson, R, Swor, R: Sensitivity of the
            Ottawa Rules. Annals of Emergency Medicine 1995;26(1):1-4.

          16. Weber JE, Jackson RE, Peacock WF, Swor RA, Carley R, Larkin GL: Clinical
            Decision Rules Discriminate Between Fractures and Nonfractures in Acute Isolated
            Knee Trauma. Annals of Emergency Medicine 1995;26(4):429-33.

          17. Jackson, R, Anderson, W, Peacock, WF, Vaught L, Carley RS, Wilson, A: Effect of a
            Patient’s Sex on the Timing of Thrombolytic Therapy. Annals of Emergency Medicine
            1996;27(1):8-15.



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          18. Peacock, WF, Vascular Access, in Hoekstra, (ed): Handbook of Cardiovascular
            Emergencies, 1st ed. pp 50-76. Boston, Little, Brown, and Co. 1997.

          19. Larkin GL, Peacock WF, Pearl SM, Blair GA, D=Amico F. Efficacy of Ketorolac
            Tromethamine Versus Meperidine in the ED Treatment of Acute Renal Colic. Am J
            Emerg Med 1999;17:6-10.

          20. Van Lente F, McErlean ES, DeLuca SA, Peacock WF, Rao JS, Nissen SE. Ability of
            Troponins to Predict Adverse Outcomes in Patients with Renal Insufficiency and
            Suspected Acute Coronary Syndromes: A Case-Matched Study. Journal of the
            American College of Cardiology 1999;33(2):471-8.

          21. Iserson KV, Adams J, Cordell WH, Graff L, Halamka J, Ling L, Peacock WF 4th,
            Sklar D, Stair T. Academic Emergency Medicine's Future. The SAEM Task Force on
            Emergency Medicine's Future. Society for Academic Emergency Medicine. Academic
            Emergency Medicine 1999;6(2):137-44.

          22. Moll J, Peacock WF. Urological Stone Disease, in Tintinalli JE, Ruiz El (eds):
            Emergency Medicine, A Comprehensive Study Guide, 4th ed. New York, McGraw
            Hill, 1999.

          23. Peacock WF. Independent House Staff Organizations. SAEM Newsletter 1999;
            11(6):6.

          24. Peacock WF. Face and Jaw Emergencies, in Tintinalli JE, et al (eds): Emergency
            Medicine, A Comprehensive Study Guide, 4th ed. New York, McGraw Hill, 1999.

          25. Waters T, Peacock WF, Nasal Emergencies and Sinusitis. in Tintinalli JE, et al (eds):
            Emergency Medicine, A Comprehensive Study Guide, 4th ed. New York, McGraw
            Hill, 1999.

          26. McErlean ES, Deluca SA, van Lente F, Peacock WF 4th, Rao JS, Balog CA, Nissen
            SE. Comparison of Troponin T Versus Creatine Kinase-MB in Suspected Acute
            Coronary Syndromes. Am J Cardiol 2000;85(4):421-426.

          27. D’Alessio T, Kupas DF, Peacock WF (ed). The case of lethargic myeloma. Topics of
            Emergency Medicine 2000;22 (1):69-75.

          28. Remer EE, Peacock WF. Pyocystis: Two case reports in renal failure. Journal of
            Emergency Medicine 2000;19(2):131-337.

          29. Peacock WF, Kies P, Albert NM, White RD, Emerman CL. Bioimpedance
            Monitoring for Detecting Pulmonary Fluid in Heart Failure: Equal to Chest
            Radiography? Congestive Heart Failure 2000;6 (2):86-9.

          30. Peacock WF IV, Albert NM, Kies P, White RD, Emerman CL. Bioimpedance
            monitoring: better than chest x-ray for predicting abnormal pulmonary fluid. Congest
            Heart Fail 2000;6(2):86-89.


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            SAEM Newsletter 2000;12(1):6-7.

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            Emergencies, 2nd ed. pp. Boston, Little, Brown, and Co. 2000.

          33. Peacock, WF, Acute Heart Failure and Cardiogenic Shock, in Hoekstra, (ed):
            Handbook of Cardiovascular Emergencies, 2nd ed. pp. Boston, Little, Brown, and Co.
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           Nissen SE. Prediction of short- and long-term outcomes by Troponin t levels in low-
           risk patients evaluated for acute coronary syndromes. Annals of Emergency Medicine
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           JS, Nissen SE. Normal CK with elevated MB predicts increased complication rate in
           patients with suspected acute coronary syndromes. Journal of Emergency Medicine
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           decision making in the emergency setting. Emergency Radiology 2001; 8:279-84.

          39. Peacock WF. The B-type natriuretic peptide assay: A rapid test for heart failure.
           Cleveland Clinic Journal of Medicine 2002;69(3):243-51.

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           Evidence-Based Management of the Hospitalized Patient with Acute Myocardial
           Decompensation-Diagnosis, Risk Stratification, and Outcome Effective Treatment. Part
           I: Presentation, Differential Diagnosis, Laboratory Examination, and Prophylaxis
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          Thrombosis Journal Club 2008;1(1):1-67. Ernest Mario School of Pharmacy at Rutgers,
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          e. Publications on CD-ROM:

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                 Hill.

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                 in the Care of Acute Coronary Syndromes. 2001,EMCREG International,
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          2001   The Role of BNP in CHF: A Round-Table Discussion on the Challenges of
                 Diagnosing CHF. Biosite Diagnostics, San Diego, CA.

          2002   W. Frank Peacock. “Advances in Treatment of Congestive Heart Failure” in
                 Modern Advances in the Diagnosis and Treatment of Cardio- and Neurovascular
                 Emergencies.

          2002   Maximizing Care for the Heart Failure Patient: The Cleveland Clinic. Feb 1.

          2004   ADHERE Investigator Meeting: Stat Diagnosis and Treatment of Heart Failure,
                 Feb 20

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                 April 17

          2004   CD-ROM.ADHERE: EM Investigator Meeting, San Francisco, CA, October 15-
                 17, 2004.

          2004   Acute Heart Failure: The Emergency Department and the Economics of Care,
                 June 15, 2004.

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          2003   WF Peacock. Congestive Heart Failure. Audio-Digest Emergency Medicine
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                 6th edition. 2005, Judith E. Tintinalli, Editor. McGraw-Hill. Face and Jaw
                 Emergencies, CD-Rom.

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                 ROM.




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                 6th edition, 2005, Judith E.Tintinalli, Editor. McGraw-Hill. Urologic Stone
                 Disease, CD-ROM.

          f.     Webcasts:

          1. Acute Decompensated Heart Failure: Exciting New Treatment Options. Live Web
             Conference with Telephone Audio, January 2004.
          2. Audioconference. Selecting the Right BNP for your Institution: Clinical, Technical
          and Economic Considerations. January 25, 2005.

          3. Educational Teleconference. Selecting the Right BNP for your Institution: Clinical
          and Technical Considerations. May 13, 2005

          4. Peacock WF: Observation Unit Care: A new Paradigm in the Treatment of Acute
          Decompensated Heart Failure. July 11, 2005. http://www.obsunit.com.

          5. Peacock WF: Observation Unit Care: A new Paradigm in the Treatment of Acute
          Decompensated Heart Failure. July 12, 2005. http://www.obsunit.com.

          6. Peacock WF: Observation Unit Care: A new Paradigm in the Treatment of Acute
          Decompensated Heart Failure. July 13, 2005. http://www.obsunit.com.

          7. Peacock WF: Observation Unit Care: A new Paradigm in the Treatment of Acute
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          7. Peacock WF: Observation Unit Care: A new Paradigm in the Treatment of Acute
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          8. Peacock WF. Current Controversies in the Management of Acute Decompensated
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          9. Peacock WF. Current Controversies in the Management of Acute Decompensated
          Heart Failure, July 14, 2005. http://video.talkpoint.com/adhfwebcast.

          10. Peacock WF. Current Controversies in the Management of Acute Decompensated
          Heart Failure, July 19, 2005. http://video.talkpoint.com/adhfwebcast.

          11. Peacock WF. Current Controversies in the Management of Acute Decompensated
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          12. Peacock WF. Current Controversies in the Management of Acute Decompensated
          Heart Failure, July 21, 2005. http://video.talkpoint.com/adhfwebcast.



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          13. Selecting the Right BNP for your Institution: Clinical and Technical Consideration,
          September 9, 2005. http://video.talkpoint.com/adhfwebcast.

          14. Peacock WF. American Heart Association Acute Decompensated Heart Failure
          Webcast, September 7, 2005.

          15. Peacock WF: Selecting the Right BNP for your Institution: Clinical and Technical
          Considerations. Biosite. September 9, 2005.

          16. Peacock WF. Heart Failure Diagnosis and Management, American Heart Association,
          October 5, 2005.

          17. Peacock WF: Selecting the Right BNP for your Institution: Clinical and Technical
          Considerations. Biosite. November 10, 2005.

          18. Peacock WF: WWW.Inovise.com. The S3 for Heart Failure Management. Nov, 2005

          19. Peacock WF: Theheart.org. CME Center. Perspectives on acute decompensated heart
          failure. November 11, 2005. (Supported by Scios, Inc.)

          20. Peacock WF: Rapid Coronary Reperfusion with a Fibronolytic Approach in ST-
          elevation Myocardial Infarction. Live and Interactive Webcast. January 22, 2006.

          21. Peacock WF: Selecting the Right BNP for your Institution: Clinical and Technical
          Considerations. Biosite. April 27, 2006

          22. October 9, 2006. Emergency Department Management of Acute Coronary
              Syndromes: Survive.

          23. October 11, 2006. Selecting the right BNP for your institution. Clinical and Technical
              Considerations.

          24. October 11, 2006. Strive Critical Pathways. Emergency Medicine Management of
              Acute Coronary Syndromes: Including the Observation Unit.

          25. May 18, 2010. Necessary for Medical Education. CME Webcast. Rural Management
              of Acute Coronary Syndromes.

          26. 6th International Congress of Cardiology on the Internet. Symposium on Chest pain
              Units 2009. Evaluation and Management of Patients with Acute Heart Failure in the
              Chest Pain Unit / Observation Unit. September 1st – November 30th, 2009.

          27. Edema in Complex Patients: Tailoring Treatment to the Patient’s Needs., Medscape.
              April 2012.


    III Teaching Information



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    A. Didactic course work

    1.   Courses taught at current institution: (include number of hours)

    a.   Course Director: Emergency Medicine and Cardiology: The Critical Interface. June 14,
         2003, Intercontinental Hotel and Conference Center, The Cleveland Clinic. (16 hours CME
         hours)
    b.   Director, The Cleveland Clinic Center for Continuing Education Web site: The Management
         of Acute Decompensated Heart Failure in the Emergency Department. (8 CME hours)
    c.   Web Site Director. The Cleveland Clinic Foundation, Cleveland OH. Management of Acute
         Decompensated Heart Failure in the Emergency Department. An Online Learning
         Continuum. www.clevelandclinicmeded.com/hfed. (6 CME hours)
    d.   Chairman: Management of Decompensated Heart Failure Critical Interface Series.
         UNITECH Communication, The Cleveland Clinic Foundation, Cleveland OH. (2 CME
         hours)
    e.   Moderator: Management of Decompensated Heart Failure Critical Interface Series. The
         Pharmacist’s Perspective on Emergency Management of Heart Failure, October 28, 2004. (2
         CME hours)

    f.   Moderator: Management of Decompensated Heart Failure Critical Interface Series. The
         Hospitalist’s Perspective on Emergency Management of Heart Failure, November 15, 2004.
         (2 CME hours)
    g.   Moderator: Management of Decompensated Heart Failure Critical Interface Series. The
         Nephrologist’s Perspective on Emergency Management of Heart Failure, December 14,
         2004. (2 CME hours)
    h.   Course Director,The Cleveland Clinic Event Medicine Program “Covering the Crowd”:
         Current Concepts in Disaster Management, Cleveland Browns Stadium, Cleveland, OH,
         June 7, 8, 2006. (8 CME hours)

    i.   Chairman, Event Medicine: Covering the Crowd, The Terrace Club at Jacobs Field,
         Cleveland OH, September 12, 2007. (8 CME hours)

    j.   Peacock, WF, Speaker, Cleveland Clinic Medicine Grand Rounds, entitled, Early Diagnosis
         and Risk Stratification in Patients Presenting with Suspected Acute Heart Failure”,
         Cleveland Clinic Bunts Auditorium, Cleveland Ohio, December 18, 2008. (1 CME hour)

    k.   Program Chair; Emergencies in Medicine. Annual CME course; 2003 to present, Park City,
         Utah. (26 CME hours)

    l.   Program Chair: Institute for Emergency Medical Education. Annual CME course; 2008 to
         present, Maui, HI. (27 CME hours)

    2.   Courses taught at other institutions (All presentations 1 hr CME courses,
         chair/director will be longer)




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    a. Symposium Chairman: 2B/3A Inhibitors and Acute Coronary Syndromes, sponsored by Searle
    Pharmaceuticals. At American Heart Association Annual Meeting, Dallas, TX, 1998.
    b.Course Director: Acute Coronary Syndromes in Emergency Medicine, April 2001, Cleveland,
    OH
    c. Course Director: Combination Therapy for Acute Myocardial Infarction Guidelines. Centocor
    Roundtable Discussion. August 22, 2002, Cleveland OH.
    d.Program Chair, AMI in the ED: The Latest developments in Fibrinolytic Therapy. Seattle,
    Washington, October 2, 2002. With publication of enduring material.
    e. Course Director: Management of acute decompensated heart failure in the emergency
    department ED ED HF STAT Roundtable. March 2003. Atlantis, Bahamas. Enduring material
    published.
    f. Co-Chair. (WF Peacock, RL Summers) Impedance Cardiography (ICG): The Next Vital Sign
    Technology for the ED. Satellite symposia to the American College of Emergency Physicians
    Annual Scientific Meeting. October 2003, Boston, Massachusetts
    g.Course Director, The Emergency Medicine and Cardiology Critical Interface Summit.
    Embassy Suites Hotel, Lake Tahoe Resort, Lake Tahoe, California, January 29-31, 2004.
    h.Course Director: Acute Heart Failure: The Emergency Department and the Economics of Care.
    Continuing Medical Education. March 2004.
    i. Chairman ADHERE Investigator Meeting: Seattle, WA, Apr 16-18, 2004.
    j. Program Chair. The Emergency Medicine ADHERE Investigator Meeting, November 15,
    2004, Las Vegas NV.
    k.Course Director: SCIOS Cardiology / ED Heart Failure Consultant Meeting, June 28, San
    Francisco, CA.
    l. Chairperson, Heart Failure Track of The 8th Congress of Chest Pain Centers. Bridging Gaps in
    Acute Coronary Care through education, advocacy and accreditation, April 2005.

    m. Co-chairperson, INITIATE National CME Program.

    n.Chairperson for the ADHERE Emergency Module (EM) Investigator meeting. Palace Hotel,
    San Francisco CA, October 15-17, 2004.

    o. Chairman, Second Annual ADHERE Investigator’s Meeting. Las Vegas, NV, Sep 25-26,
    2004.

    p.Faculty, The Heart Course, www:theheartcourse.com

    q.Course Director, The Emergency Medicine and Cardiology Critical Interface Summit. Copper
    Mountain Colorado, Feb 15-18, 2005.
    r.     Ventricular Arrhythmias. Emergency Medicine Grand Rounds, MetroHealth Medical
    Center, Cleveland OH, April 13, 2005.




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    s.      The Impact of Rapid Biomarkers for Enhancing Cardiovascular Patient Management.
    Satellite Symposium to the Society of Chest Pain 8th Annual Congress. Orlando, FL, April 28,
    2005.
    t.     Non-ST Segment Elevation MI – The Standard of Care and Where we Need to Improve.
    Intercontinental Hotel, Cleveland OH, April 26, 2005.
    u.Moderator, Session Sports: Caring for Athletes and the Spectators. Society for Academic
    Emergency Medicine Annual Meeting, May 23, 2005.

    v.Proteins for Profit and Fun! The Institute for Emergency Medical Education and the
    Washington Chapter of the American college of Emergency Physicians. Wailea Marriott, Maui,
    Hawaii, December 4-9, 2005.

    w.    Myths and Miracles in Acute Heart Failure: What Do We Really Know? The Institute for
    Emergency Medical Education and the Washington Chapter of the American college of
    Emergency Physicians. Wailea Marriott, Maui, Hawaii, December, 2005

    x. Chairperson/Moderator, Heart Failure Program, Ninth Congress of Chest Pain Centers,
    Boston, MA, May 3-6, 2006.

    y. Cleveland Clinic Event Medicine Program Presents, Covering the Crowd: Current Concepts in
    Disaster Management. W. Frank Peacock, Speaker. Thrombolytics: Should They Be Considered
    Pre-hospital? June 7-8, 2006, Cleveland Ohio.

    z. Discussion of Multimarker Testing & Myeloperoxidase (MPO) in ACS, June 29, 2006, Valley
    View, Ohio. Sponsored by The Center for Healthcare Education.

    aa.    September 28, 2006. Heart Failure in the Emergency Department. Southpointe Hospital,
    Cleveland, OH.

    bb.  MetroHealth Emergency Department Grand Rounds, Cardiovascular controversies.
    November 22, 2006, Cleveland, OH.

    cc.   December 13, 2006. Department of Emergency Medicine Grand Rounds, MetroHealth
    Medical Center, Cardiac Biomarkers. Cleveland, OH.

    dd.   January 18, 2007. The AHA/ACC Guidelines: The View from the Emergency
    Department. Cleveland, OH.

    ee.    BNP Consensus Working Group Faculty, Cannes, France, April 27, 2007.

    ff.    ST-segment elevation myocardial infarction management. A Life Flight Annual
    Conference, Cleveland Ohio, May 10, 2007.

    gg.    Chairman, Acute Care Cardiology Debate at Society of Academic Emergency Medicine,
    Chicago IL, May 19, 2007.




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    hh.  BNP: Who Needs It? Debate at the Heart Failure Club, Ohio State University, Columbus
    OH. May 31, 2007.

    ii.    Point of Care in the Emergency Department, Cleveland OH, September 5, 2007.

    jj.   Go Direct to the Acute Decompensated Heart Failure Therapy at the Breathe Conference,
    Mason OH, September 28, 2007.

    kk.   Interpretation of BNP Levels in Acute Care. At the Expanding The Role of BNP in the
    Management of Acute Heart Failure Satellite Symposium. Heart Failure Society of America
    Annual Meeting, September 17, 2007, Washington, DC.

    ll.   Updates in Acute Coronary Syndromes. Risk Assessment and Treatment Strategies.
    Metropolitan Café, Cleveland OH. October 18, 2007.

    mm. Magic Markers Review of Impact in Biomarkers in Emergency Department. Emergencies
    in Medicine, Maui HI. December 5, 2007.

    nn. Chairman, Society of Chest Pain Centers and Providers Annual Congress. Orlando, FLA,
    April 23 - 28, 2008.

    oo. Acute Heart Failure Syndromes: Evolving Therapy in the ED. EMCREG International,
    SAEM-Approved Satellite Symposium, Marriott Wardman Park, Washington, DC. May 30,
    2008.

    pp. Chairman: Knockout at the Needle. Hot Topics in Emergency Medicine Debate Series.
    American College of Emergency Physicians, Seattle, WA. October 9, 2007.

    qq. Chairman, Emergencies in Medicine Conference. March 5 – 12, 2008.

    rr. Chairman, The Kingdom of Chest Pain Satellite Symposium, Society of Chest Pain Centers
    and Providers. Orlando, FLA, April 24, 2008.

    ss. Chairman, Society of Chest Pain Centers and Providers Satellite Symposium.Orlando, FLA,
    Acute Decompensated Heart Failure Review. April 25, 2008.

    tt. Management of Heart Failure. Grand Rounds Metrohealth Medical Center Emergency
    Medicine Residency. June 4, 2008.

    uu. Course Director, Platelet Response in Acute Coronary Syndrome – Preventing Thrombotic
    Events in Percutaneous Coronary Interventions, Cleveland, OH, October 28, 2008.

    vv. Jaffe AS, Peacock WF, Wu AHB. Managing Low Level Troponin Results: Case Study
    Presentations. Interactiver Workshop. AACC Scientific Programme, Washington DC, July 2008.

    ww. Course Co-Director: Peacock, WF. Platelet Response in Acute Coronary Syndrome.
    October 18, 2008. Cleveland Clinic, Beachwood OH.



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    xx. Grand Rounds Cleveland Clinic Metrohealth Emergency Medicine Residency Program.
    Review of Congestive Heart Failure. January 7, 2009.

    yy. Update on the Current Management of Severe Acute Hypertension. The Medicines
    Company. Cleveland OH, September 23, 2009.

    zz. December 9, 2009. Emergencies in Medicine Conference, Maui Hawaii. Review of
    Ophthamalogy.

    aaa. December 10, 2009. Emergencies in Medicine Conference, Maui Hawaii. Advances in
    Cardiology.

    bbb. Peacock WF, Speaker, 19th International Vicenza Course on Critical Care Nephrology.
    Scientific Session. St. Bortolo Hospital, Vicenza Italy, June 8-10, 2010.

    ccc. Peacock WF, Speaker. Dorrington Medical Associates Grand Rounds. Chest pain: initial
    evaluation. Maria Selma Restaurant, Houston TX, July 2, 2010.

    ddd. Peacock WF, Speaker. EKR Therapeutics. Considerations in the Managtement of
    Hypertensive Emergencies. Giovanni’s, Beachwood Ohio. August 11, 2010.

    eee. Peacock WF. Grand Rounds Community Hospital, Munster, Indiana. Addressing Current
    Concepts and Controversies in UA/NSTEMI Management. A guideline-based Approach for
    2011. Munster IN. February 17, 2011.

    fff.      Peacock WF. 7th Annual Biomarkers in Heart Disease: What every provider should
    know. Figuring Troponin into the ED Evaluation of Chest Pain. San Diego CA. March 5, 2011.

    ggg.      Peacock WF. 7th Annual Biomarkers in Heart Disease: What every provider should
    know. Natriuretic peptides use with Bioimpedance. San Diego CA. March 6, 2011.

    hhh. Peacock WF. Moses Cone Health System (MCHS) Acute Coronary Syndromes
    Management in the Emergency Department. Improving Acute Coronary Syndromes
    Management. A Hospital-specific Quality Improvement Initiative. March 15, 2011.

    iii. Peacock WF. Moses Cone Health System (MCHS) Acute Coronary Syndromes Management
    in the Emergency Department. Improving Acute Coronary Syndromes Management. A Hospital-
    Specific Quality Improvement Initiative. March 16, 2011.

    jjj. Peacock WF. Cardiovascular Symposium: Munster Indiana at the Center for Visual and
    Performing Arts. State of the Art: Guidelines for NSTEMI Management. April 16, 2011.

    kkk. Peacock WF. 42nd ANMCO National Congress. Focus on the Value of Volume
    Assessment. Florence, Italy. May 13, 2011.

    lll. Peacock WF. Grand Rounds. Methodist Hospital. Addressing Current Concepts and
    Controversies in UA/NSTEMI Management: A Guideline-Based Approach for 2011.
    Philadelphia PA. June 1, 2011.


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    mmm.                 Peacock WF.Wheaton Franciscan Healthcare – All Saints. HF at Point of
    Care. Racine WI. June 29, 2011.

    nnn. Peacock WF. Keynote Speaker: Sepsis and Procalcitonin. Australian College for Emergency
    Medicine Winter Symposium. July 11, 2011.

    ooo. Peacock WF. Australian College for Emergency Medicine Winter Symposium Lunch
    Symposium: The value of point of care in ED management. July 11, 2011.

    ppp. Peacock WF. Keynote Speaker: ECG Mapping. Australian College for Emergency Medicine
    Winter Symposium. July 12, 2011.

    qqq. Peacock WF. Australian College for Emergency Medicine Winter Symposium Lunch
    Symposium: Novel markers of ED mortality; Review of the BACH trial. July 12, 2011.

    rrr. Peacock WF. European Society of Cardiology, Paris, Session Biomarkers that complete the
    picture for acute cardiovascular conditions in the Ed: the role of BNP in ACS and NGAL in
    ADHF – A novel evidence-based approach for the targed utilization B-type Natriuretic Peptide
    Testing in Acute Coronary Syndrome. August 29, 2011.

    sss. Peacock WF. Advanced Emergency and Acute Care Medicine Conference. A Best Practices
    Approach to Identifying and Treating Acute Coronary Syndrome. Atlanta City NJ. September
    26, 2011.

    ttt. Peacock WF. Blood CME Center. Coagulopathy in the Non-Trauma and Trauma Settings.
    Cleveland, OH. October 6, 2011.

    uuu. Peacock WF. Breathe Conference. Advances in Heart Failure Management. Cincinnati OH.
    October 8, 2011.

    3.   Courses expected to be taught at BCM

    B. Non-didactic teaching

               1.      Resident training (include estimate of time)

                    Emergency Department Clinical Training

                    2009-10 Cleveland Clinic Emergency Department, Cleveland, OH: 32 hrs/week

                    2002-09 Cleveland Clinic Emergency Department, Cleveland, OH: 27 hrs/week
                    Included intermittent coverage at MetroHealth Medical Center (county trauma
                    hospital.

                    1994-04 Cleveland Clinic Emergency Department, Cleveland, OH: 18 hrs/wk




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                   1990-94 William Beaumont Hospital Emergency Department, Royal Oak, MI: 20
                   hrs/wk

                   1990-92 University of Michigan Emergency Department, Ann Arbor, MI; 6
                   hrs/wk

                   1989-90 William Beaumont Hospital, Royal Oak, MI: 20 hrs/wk


              2.      Clinical Fellow training (include names of fellows, dates, current location)

              3.      Research Fellow training: (as above)
                      2 year Emergency Cardiac Research Fellowship
                      2005-2007 Preeti Jois. Currently Research Director at Tampa General
                      Emergency Medicine Residency Program

                      1 year Research Fellowship: Current position
                      Jiuen Kim: Duke Singapore Medical School
                      Tertius Tuy: Duke Singapore Medical School

                      Summer Research Program
                      Asha Talat: Lerner/Cleveland Clinic School of Medicine
                      Caitlin Hicks: National Institute of Health Scholar
                      Amy Fissenger: Lerner/Cleveland Clinic School of Medicine
                      Justin Benoit: Senior Emergency Medicine Resident; University of Cincinnati
                      Alex Reedy: Lerner/Cleveland Clinic School of Medicine
                      John Mafi: General Surgery Residency, Case Western University
                      Joe Styron: Orthopedic Resident, Cleveland Clinic
                      Saul Butt: General Surgeon

                      Summer Research Program Lost to follow up
                      Katie McCray
                      Anrew McCoy
                      Lei Lei
                      Mark Mekhail
                      Emily Link
                      Gregory Roulette
                      Jessica Holmes
                      Jessie Cassada
                      Kashif Ali

              4.      Graduate Student training: (as above; major advisor, committee
                      member)

              5.      Estimate of kinds of non-didactic teaching expected at BCM

             Emergency Department Clinical training, extensive ad hoc research meetings



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    C. Lectures: (include location, title of presentation, dates)

                1.    International (National and regional listed above under “invited
                       presentations”)

       Inpatient Versus Outpatient Management of Heart Failure. International College of
       Emergency Physicians Annual Meeting, Vancouver, Canada, March 1998.

       Lytics in the Living Room: Improving Outcomes with Prehospital Thrombolysis. Canadian
       Heart Research Centre, 6th Annual Symposium, Toronto, Ontario, June 1, 2003.
       Lytics in the living room. Sixth annual symposium. Management of Cardiovascular Patients,
       July 20, 2003, Deerhurst, Ontario.
       Lytics in the living room: State of the art with prehospital thrombolysis. Canadian Heart
       Research Centre, Deerhurst, Ontario. July 20, 2003.

       BNP: Role in Heart Failure Diagnosis. Toronto, Ontario, Sep 14, 2004.

       2nd Asian Pacific Congress of Heart Failure Symposium. Understanding Sick Hearts: New
       and Evolving concepts of Heart Failure. Singapore, January 10, 2005.

       Emergency Department Heart Failure Risk Stratification. European Consensus Panel: B-
       Type Natriuretic Peptide Consensus Panel, Nice, France, April 15, 2006.

       Heart Failure Management in the United States. European Consensus Panel: B-Type
       Natriuretic Peptide Consensus Panel, Nice, France, April 15, 2006.

       American Medical Association. Coding and Procedural Terminology Meeting. Redefinition
       of Ionized Calcium, San Juan, Puerto Rico, April 2006.
       Canadian Association of Emergency Physicians International Conference of Emergency
       Medicine. Toronto, Ontario, Controversies in Acute Decompensated Heart Failure, June 4,
       2006.

       Heart Attacks: Killers in Disguise. Edinburgh International Science Festival. Royal Scotland
       Museum. Edinburgh, Scotland. April 10, 2007

       State of the Art Lecture, Use of Integrated Biomarkers and Acute Chest Pain, Second
       International Symposium of Integrated Biomarkers in Cardiovascular Disease. Berlin
       Germany, June 22, 2007

       State of the Art Lecture, Inflammatory Diseases of the Heart. Panel Discussant. Second
       International Symposium of Integrated Biomarkers in Cardiovascular Disease. Berlin
       Germany, June 22, 2007

       Global Hypertension Management Conference; United States Emergency Department
       Management of Hypertension, Zurich Switzerland. April 17-20, 2008.



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       Acute Heart Failure Working Group. Emergency Department Predictors of Mortality, Stressa
       Italy. June 18, 2008.

       Heart Failure Risk Stratification in the United States. Sino-Western BNP Consensus
       Conference. Shanghai, China. June 22, 2008.

       Troponin in Acute Heart Failure; Emergency Department Use. Sino-Western BNP
       Consensus Conference. Shanghai, China. June 23, 2008.

       Fifteenth Annual Intensive Care in Emergency Medicine Conference. Acute Management of
       Hypertension, Kuta Bali, Indonesia. August 12, 2008.

       Natriuretic Peptides in Acute Coronary Syndromes. 2008 European Society of Cardiology
       Acute Cardiac Care, Versailles, France.October 25, 2008.

       Biomarkers in Acute Cardiac Care Across the Clinical Spectrum; Satellite of the 2008
       European Society of Cardiology Acute Cardiac Care meeting. Risk Stratification in Acute
       Coronary Syndromes and Heart Failure. Versailles, France. October 26, 2008.

       Chairman, Prehospital and Emergency Department Care Session of the 2008 European
       Society of Cardiology Acute Cardiac Care. Acute Heart Failure Session, Versailles, France.
       October 26, 2008.

       Prehospital Management of ST segment Elevation Myocardial Infarction: American College
       of Cardiology Guidelines for Prehospital Acute Myocardial Infarction. European Society of
       Cardiology Acute Cardiac Care Writing Group. American Heart Association Versailles,
       France, October 28, 2008.

       29th International Symposium on Intensive Care in Emergency Medicine. Bioimpedance
       techniques in the emergency department. March 26, 2009. Brussels, Belgium.

       29th International Symposium on Intensive Care in Emergency Medicine, Brussels Belgium.
       Adrenomedullin predicts acute mortality in decompensated heart failure. March 27, 2009.

       Argentina Virtual Conference. Short Stay Management of Heart Failure. May 31, 2009.

       Grand Rounds. Department of Emergency Medicine. Saint Andrea Hospital, Rome Italy. July
       2, 2009.

       European Society of Cardiology Annual Meeting. Adrenomedullin Predicts Short Term
       Mortality in Acute Decompensated Heart Failure: Report of the BACH Trial. August 31,
       2009. Barcelona Spain.

       Japanese BNP Consensus Panel. Emergency Department Risk Stratification. Nagano Japan.
       November 20, 2009.

       Japanese Natriuretic Peptide Consensus Panel. BNP in the emergency department. November
       20, 2009. Kurizawa Japan.


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       Japanese Natriuretic Peptide Consensus Panel. Interpreting low level Troponin in the
       emergency department. November 20, 2009. Kurizawa Japan.

       April 26, 2010. Nice, France, Biomarker Meeting of the European Society of Cardiology.
       Chest Pain Risk stratification.

       April 26, 2010. Nice, France. Biomarker Meeting of the European Society of Cardiology.
       Diagnosis and Treatment of Acute and Chronic Heart Failure: 2010 State of Affairs.

       April 26, 2010. Nice, France, Biomarker Meeting for the European Society of Cardiology.
       Managing Fluid Balance and Heart Failure using biomarkers.

       April 27, 2010. Nice, France. Biomarker Meeting for the European Society of Cardiology.
       Troponins and Beyond: What can we expect from the new ischemia biomarkers.

       April 27, 2010. Nice, France. Biomarker Meeting for the European Society of Cardiology.
       Panel Chair, Kidney Function and Injury.

       May 30, 2010. European Society of Cardiology. Heart Failure Meeting. Nice France;
       Necrosis Markers in Acute Decompensated Heart Failure.

       June 9, 2010. Vicenza Italy. Intensive Care Nephrology Review. Presentation: Bioimpedance
       Vector Analysis for Fluid Management.

       August 30, 2010. European Society of Cardiology Annual Congress. Presentation: Markers
       of Necrosis in Acute Decompensated Heart Failure. Stockholm Sweden

       August 31, 2010. European Society of Cardiology. Stockholm Sweden. Chairman,
       Neutrophil Gelatinase Associated Lipocalin Review Committee.

       1st Annual Global Research on Acute Conditions Team (GREAT) Meeting, Rome, Italy;
       Workshop and luncheon panel – The cardiorenal syndrome in emergency medicine.

       1st Annual Global Research on Acute Conditions Team (GREAT) Meeting, Rome, Italy;
       Utility of Bioimpedance Vector Analysis in the Emergency Room. October 19, 2010.

       1st Annual Global Research on Acute Conditions Team (GREAT) Meeting, Rome, Italy;
       Chairman, Research in Acute Heart Failure: New Biomarkers, New Technology and New
       Therapeutic Approaches. October 20, 2010.

       1st Annual Global Research on Acute Conditions Team (GREAT) Meeting. Rome, Italy.
       Research in Emergency Medicine in USA: The State of the Art. October 20, 2010.

       Asociacion Colombiana de Especialistas en Medicina de Urgencias y Emergencias ACEM. 1
       Congreso Internacional En Medicina De Emergencias. Cardiology Block II. Chest Pain
       Management. Bogata, Columbia, November 11, 2010.



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       Asociacion Colombiana de Especialistas en Medicina de Urgencias y Emergencias ACEM. 1
       Congreso Internacional En Medicina De Emergencias. Cardiology Block II. Congestive
       Heart Failure Risk Identificationer, Bogata, Columbia, November 11, 2010.

       Adrenomedullin changes predict survival in dyspneic emergency department patients.
       European Society of Cardiology 2011, Scientific Programme. Paris Nord Villepinte, August
       28, 2011.

       A novel evidence-based approach for the targeted utilization of B-type Natriuretic peptide
       (BNP) testing in acute coronary syndrome (ACS). European Society of Cardiology 2011,
       Scientific Programme. Paris Nord Villepinte, August 29, 2011.

       Mid-region proHormone adrenomedullin identifies acutely dyspneic emergency department
       patients with high 90 day mortality: results from the Biomarkers in Acute Heart Failure
       (BACH) trial. European Society of Cardiology 2011, Scientific Programme. Paris Nord
       Villepinte, August 30, 2011.

       Global Research on Acute Conditions Team (GREAT) Conference. Rome, Italy. High
       Sensibility Troponins and Chest Pain Differential Diagnosis in Emergency Room. Rome,
       Italy, October 18, 2011.

       Global Research on Acute Conditions Team (GREAT) Conference. Rome, Italy. BIVA in
       Acute Heart Failure. October 19, 2011.

       Global Research on Acute Conditions Team (GREAT) Conference. Rome, Italy. Risk
       Stratification in suspected Acute Coronary Syndromes. October 19, 2011.

       Grand Rounds, Bradford Royal Infirmary. Emergency Department Risk Stratification in
       Suspected Acute Coronary Syndromes. York, England. February 21st, 2012.

       European Society of Cardiology, Annual Heart Failure Meeting; State of the Art Treatment
       of Acute Heart Failure. Belgrade, Serbia, May, 20, 2012.

       European Society of Cardiology, Annual Scientific Assembly. Chair; How Biomarkers
       Improve Patient Assessment in Cardiology. August 26, 2012.

       European Society of Cardiology, Annual Scientific Assembly. Diagnostic Accuracy of Point
       of Care Troponin I in the Emergency Department (MIDAS). August 26, 2012.

       Annual meeting; Australian Association of Biochemists. The Use of Point of Care Troponin
       for Acute Myocardial Infarction in the Emergency Department. Sydney, Australia. July 26,
       2012.

       A to Z Cardiology Meeting. ACS Risk Stratification. Sydney, Australia. July 28, 2012.

       A to Z Cardiology Meeting. Key Note Plenary. An Emergency Physician’s Approach to
       Chest Pain Evaluation. Sydney, Australia. July 29, 2012.



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         A to Z Cardiology Meeting. Panel member; If I was Updating My Hospital’s Protocol.
         Sydney, Australia. July 29, 2012.


    IV             Medical & Service Information

          A.       Patient care responsibilities

                   1.     Department-wide

                   2009-10 Cleveland Clinic Emergency Department, Cleveland, OH: 32 hrs/week

                   2002-09 Cleveland Clinic Emergency Department, Cleveland, OH: 27 hrs/week
                   Included intermittent coverage at MetroHealth Medical Center (county trauma
                   hospital.

                   1994-04 Cleveland Clinic Emergency Department, Cleveland, OH: 18 hrs/wk

                   1990-94 William Beaumont Hospital Emergency Department, Royal Oak, MI: 20
                   hrs/wk

                   1990-92 University of Michigan Emergency Department, Ann Arbor, MI; 6
                   hrs/wk

                   1989-90 William Beaumont Hospital, Royal Oak, MI: 20 hrs/wk

          B.       Clinical laboratory responsibilities

                   1996-98 Started and ran point of care lab at Cleveland Clinic Emergency
                   Department

                   1998-12 Started and ran Cleveland Clinic Emergency Department Serum library

          C.       National education or voluntary health organization participation

                   2008-present Board of Directors, Hope for Honduran Children orphanage in
                   Honduras.

          D.       Administrative assignments

                   2012-13           Get With The Guidelines Coronary Artery Disease Clinical
                                     Work Group

                   2012-13           Get With The Guidelines Coronary Science Sub Committee

                   2011-12           Chief Medical Officer, Society of Chest Pain Centers

                   2010 – 2011       President, Society of Chest Pain Centers


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                2010-current    Get with the Guideline Quality Improvement Initiatives, ACS
                                publication committee

                2010            Society Hospital Medicine Observation Unit Guidelines
                                Writing Committee.

                2009 - 2010     Vice President, Society of Chest Pain Centers

                2008 - 2010     Co-chair, National Heart Lung and Blood Institute Heart
                                Failure Advisory Board

                2008 -2009      Member SAEM Guidelines Committee

                2008            Member, Search Committee for Chair, Department of
                                Diagnostic Radiology, Cleveland Clinic
                2008 -current   Member, Society of Chest Pain Centers Research Committee

                2008 -2009      Secretary/Treasurer, Society of Chest Pain Centers

                2007            Member, Environmental Care Joint Commission Committee.

                2007            Member, Pharmacy Committee, for JCAHO Response.

                2007 – 2008     Faculty, The Heart Course.

                2007            Program Chair, Society of Chest Pain Centers and Providers,
                                Annual Congress

                2007-10         American College of Cardiology Foundation, Quality
                                Improvement Subcommittee

                2007 -Current   Board of Directors, Hope for Honduras Orphanage

                2005 -Current   Heart Failure Committee Chair, Society of Chest Pain Centers

                2004- Current   Medical Director, Cleveland Clinic Event Medicine

                2000-2008       Chairman, Cleveland Clinic Emergency Preparedness
                                Committee

                1998 – 2005     Cleveland Health Network Emergency Department Services
                                Committee.

                1994 – 1998     Director of Clinical Operations, Department of Emergency
                                Medicine, The Cleveland Clinic Foundation, Cleveland, OH.




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                1992 – 1994      Associate Residency Director, Emergency Department,
                                 William Beaumont Hospital, Royal Oak, MI.

                1991 – 1993      Quality Assurance Coordinator, Emergency Department,
                                 William Beaumont Hospital, Royal Oak, MI.

                1991 – 1993      Chairman, Emergency Medicine Quality Assurance
                                 Committee, William Beaumont Hospital, Royal Oak, MI.

                1989 –1992       Assistant Residency Director, Emergency Department, William
                                 Beaumont Hospital, Royal Oak, MI.

                Hospital Committees:

                2010             CCF Center for Clinical Research Executive Committee

                2008             Member, Search Committee for Chairman of General
                                 Radiology

                2007 - 2008      Member, Environmental Care Joint Commission Committee.

                2007 - 2008      Member, Pharmacy Joint Commission Committee.

                2006             Reappointment Committee for CCF Chairman, Radiology

                2005             Reappointment Committee for CCF Chairman, General
                                 Internal Medicine

                1998             Cleveland Health Network Emergency Department Services
                                 Committee

                1997- 2008       Chairman, Cleveland Clinic Foundation, Emergency
                                 Preparedness Committee

                1995-1997        Pharmacy and Therapeutics Committee, The Cleveland Clinic,
                                 Cleveland, OH.

                1995-1997        CPR and Disaster Committee, The Cleveland Clinic,
                                 Cleveland, OH.

                1992- 1994       Associate Residency Director, Emergency Department,
                                 William Beaumont Hospital, Royal Oak, MI

                1991-1994        Utilization Review Committee, William Beaumont Hospital,
                                 Royal Oak, MI.

                1991-1992        Quality Assurance Committee, William Beaumont Hospital,
                                 Royal Oak, MI.


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                   1991- 1993        Quality Assurance Coordinator, Emergency Department,
                                     William Beaumont Hospital, Royal Oak MI

                   1991- 1993        Chairman, Emergency Medicine Quality Assurtance
                                     Committee, William Beaumont Hospital, Royal Oak MI

                   1990-1994         Pharmacy and Therapeutics Committee, William Beaumont
                                     Hospital, Royal Oak, MI.

                   1989- 1992        Assistant Residency Director, Emergency Department, William
                                     Beaumont Hospital, Royal Oak MI

                   1.     College, School or University administration, committees, etc.

         D.        Other pertinent information not given above

     Founding member Society of Cardiovascular Patient Care (originally Society of Chest Pain
     Centers and Providers).

     Founding Member, Research in Emergency Management of Acute Heart Failure (REACH)
     Society, 2007.




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                                                      William Franklin Peacock, IV, M.D., F.A.C.E.P.
                                                                       USDC, EDLA MDL 2592 “L”




                                             Expert Testimony

     In the last 4 years, I have provided expert testimony in the following cases:

        1. Chan vs. Kickstart, District Court of Texas, Harris County - 189th judicial district, NO.
           2014-26008

        2. Chiesi vs Exela, Sandoz, and Acs Dobfar, United States District Court, D. New
           Jersey - C.A. No. 1:13-cv-05723-NLH-AMD




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                                EXHIBIT “B”




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                                               William Franklin Peacock, IV, M.D., F.A.C.E.P.
                                                                USDC, EDLA MDL 2592 “L”

                                         RELIANCE LIST

     Medical Records re: William Henry

     1.    019_002      The Wound Healing and Hyperbaric Medicine Center / Brownwood
           Regional Medical Center Medical Records,
           750014_019_002_HenryWilliamHoward_TheWoundHealingandHyperbaricMedicineCtr
           _00000612_00000612.pdf

     2.    040_002     Shannon Medical Center Radiology,
           750014_040_002_HenryWilliamHoward_ShannonMedCtrRadDept_00000002_0000000
           2.pdf

     3.    Abilene Physicians Group Medical Records,
           750014_030_001_HenryWilliamHoward_AbilenePhysiciansGroup_00000001_00000001
           .pdf

     4.    Abilene Physicians Group Medical Records,
           750014_030_002_HenryWilliamHoward_AbilenePhysiciansGroup_00000002_00000148
           .pdf

     5.    Abilene Physicians Group Medical Records,
           750014_030_003_HenryWilliamHoward_AbilenePhysiciansGroup_00000149_00000149
           .pdf

     6.    Abilene Physicians Group Medical Records,
           750014_030_004_HenryWilliamHoward_AbilenePhysiciansGroup_00000150_00000154
           .pdf

     7.    Abilene Regional Medical Center Billing,
           750014_022_001_HenryWilliamHoward_AbileneRegionalMedCtrPatientAccts_0000000
           1_00000021.pdf

     8.    Abilene Regional Medical Center Medical Records,
           750014_021_001_HenryWilliamHoward_AbileneRegionalMedCtrMedRecsDept_00000
           001_00000412.pdf

     9.    Abilene Regional Medical Center Medical Records,
           750014_021_002_HenryWilliamHoward_AbileneRegionalMedCtrMedRecsDept_00000
           413_00000422.pdf



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     10.   Abilene Regional Medical Center Medical Records,
           750014_021_003_HenryWilliamHoward_AbileneRegionalMedCtrMedRecsDept_00000
           423_00000433.pdf

     11.   Abilene Regional Medical Center Radiology,
           750014_023_001_HenryWilliamHoward_AbileneRegionalMedCtrRadDept_00000001_0
           0000001.pdf

     12.   Abilene Regional Medical Center Radiology,
           750014_023_003_AbileneRegionalMedCtrRadDept_00000003_00000003 (1).pdf

     13.   Carlson, David E. / Abilene Cardiovascular Surgery,
           750014_018_001_HenryWilliamHoward_CarlsonDavidEMD_00000001_00000008.pdf

     14.   Carlson, David E. / Abilene Cardiovascular Surgery,
           750014_018_002_HenryWilliamHoward_CarlsonDavidEMD_00000009_00000009.pdf

     15.   Centers for Medicare and Medicaid Services (Region 6),
           750014_025_001_HenryWilliamHoward_CtrsforMedicareandMedicaidSvcsLegalDeptPr
           ivacyOffice_00000001_00000175.pdf

     16.   Centers for Medicare and Medicaid Services (Region 6),
           750014_025_002_HenryWilliamHoward_CtrsforMedicareandMedicaidSvcsLegalDeptPr
           ivacyOffice_00000176_00000890.pdf

     17.   Centers for Medicare and Medicaid Services (Region 6),
           750014_025_003_HenryWilliamHoward_CtrsforMedicareandMedicaidSvcsLegalDeptPr
           ivacyOffice_00000891_00001029.pdf

     18.   Coleman County EMS / Heart of Texas EMS,
           750014_035_001_HenryWilliamHoward_ColemanCountyEMS_00000001_00000028.pd
           f

     19.   Coleman County Medical Center Billing,
           750014_010_001_HenryWilliamHoward_ColemanCountyMedCtrPatientAccts_0000000
           1_00000260.pdf

     20.   Coleman County Medical Center Medical Records,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000000
           01_00000750.pdf




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     21.   Coleman County Medical Center Medical Records,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000007
           51_00001500.pdf

     22.   Coleman County Medical Center Medical Records,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000015
           01_00002250.pdf

     23.   Coleman County Medical Center Medical Records,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000022
           51_00003000.pdf

     24.   Coleman County Medical Center Medical Records,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000030
           01_00003256.pdf

     25.   Coleman County Medical Center Medical Records,
           750014_009_002_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000032
           57_00003673.pdf

     26.   Coleman County Medical Center Radiology,
           750014_011_001_HenryWilliamHoward_ColemanCountyMedCtrRadDept_00000001_0
           0000003.pdf

     27.   Coleman County Medical Center Radiology,
           750014_011_002_HenryWilliamHoward_ColemanCountyMedCtrRadDept_00000004_0
           0000004.pdf

     28.   Coleman County Medical Center Radiology,
           750014_011_003_HenryWilliamHoward_ColemanCountyMedCtrRadDept_00000005_0
           0000005.pdf

     29.   Coleman County Medical Center Radiology,
           750014_011_004_HenryWilliamHoward_ColemanCountyMedCtrRadDept_00000006_0
           0000006.pdf

     30.   Coleman County Medical Center,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000000
           01_00000750.pdf

     31.   Coleman County Medical Center,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000007
           51_00001500.pdf



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     32.   Coleman County Medical Center,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000015
           01_00002250.pdf

     33.   Coleman County Medical Center,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000022
           51_00003000.pdf

     34.   Coleman County Medical Center,
           750014_009_001_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000030
           01_00003256.pdf

     35.   Coleman County Medical Center,
           750014_009_002_HenryWilliamHoward_ColemanCountyMedCtrMedRecsDept_000032
           57_00003673.pdf

     36.   Coleman Healthcare Center Nursing Home Clinic Records,
           750014_058_001_HenryWilliamHoward_ColemanHealthcareCtrNursingHome_0000000
           1_00000542.pdf

     37.   Coleman Medical Associates Medical Records,
           750014_037_001_HenryWilliamHoward_ColemanMedAssocs_00000001_00000463.pdf

     38.   Coleman Medical Associates Medical Records,
           750014_037_002_HenryWilliamHoward_ColemanMedAssocs_00000464_00000591.pdf

     39.   Coleman Medical Associates Medical Records,
           750014_037_003_ColemanMedAssocs_00000592_00000594.pdf

     40.   Coleman Medical Associates Medical Records,
           750014_037_004_ColemanMedAssocs_00000595_00000595.pdf

     41.   Coleman Medical Associates,
           750014_037_001_HenryWilliamHoward_ColemanMedAssocs_00000001_00000463.pdf

     42.   Coleman Medical Associates,
           750014_037_002_HenryWilliamHoward_ColemanMedAssocs_00000464_00000591.pdf

     43.   Coleman Medical Associates,
           750014_037_003_ColemanMedAssocs_00000592_00000594.pdf




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     44.   Coleman Medical Associates,
           750014_037_004_ColemanMedAssocs_00000595_00000595.pdf

     45.   Encompass Home Health of North Central / West Texas Home Nursing Home Health
           Records,
           750014_031_002_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00000002_00000279.pdf

     46.   Encompass Home Health of North Central / West Texas Home Nursing Home Health
           Records,
           750014_031_003_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00000280_00000280.pdf

     47.   Encompass Home Health of North Central / West Texas Home Nursing,
           750014_031_002_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00000002_00000279.pdf

     48.   Encompass Home Health of North Central / West Texas Home Nursing,
           750014_031_003_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00000280_00000280.pdf

     49.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00000281_00001030.pdf

     50.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00001031_00001780.pdf

     51.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00001781_00002530.pdf

     52.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00002531_00003280.pdf

     53.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00003281_00004030.pdf




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     54.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_004_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00004031_00004421.pdf

     55.   Encompass Home Health of North Central Texas Home Nursing Home Health Records,
           750014_031_005_HenryWilliamHoward_EncompassHomeHealthofNorthCentralTexas_
           00004422_00004462.pdf

     56.   Gastrology Associates Billing Records,
           750014_029_001_HenryWilliamHoward_GastrologyAssocs_00000001_00000001.pdf

     57.   Gastrology Associates Medical Records,
           750014_029_002_HenryWilliamHoward_GastrologyAssocs_00000002_00000009.pdf

     58.   Guardian EMS,
           750014_013_001_HenryWilliamHoward_GuardianEMS_00000001_00000009.pdf

     59.   Heart of Texas EMS, Inc.,
           750014_080_001_HenryWilliamHoward_HeartofTexasEMSInc_00000001_00000014.p
           df

     60.   Heart of Texas EMS, Inc.,
           750014_080_002_HenryWilliamHoward_HeartofTexasEMSInc_00000015_00000016.p
           df

     61.   Heart of Texas EMS, Inc.,
           750014_080_004_HenryWilliamHoward_HeartofTexasEMSInc_00000018_00000029.p
           df

     62.   Hendrick Cardiology / Cardiology Consultants,
           750014_034_001_HenryWilliamHoward_HendrickCardiology_00000001_00000007.pdf

     63.   Hendrick Cardiology / Cardiology Consultants,
           750014_034_002_HenryWilliamHoward_HendrickCardiology_00000008_00000009.pdf

     64.   Hendrick Medical Center Billing,
           750014_015_001_HenryWilliamHoward_HendrickMedCtrPatientAccts_00000001_0000
           0086.pdf

     65.   Hendrick Medical Center Billing,
           750014_015_002_HenryWilliamHoward_HendrickMedCtrPatientAccts_00000087_0000
           0087.pdf




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     66.   Hendrick Medical Center Medical Records,
           750014_014_001_HenryWilliamHoward_HendrickMedCtrMedRecsDept_00000001_00
           000290.pdf

     67.   Hendrick Medical Center Pathology,
           750014_017_001_HenryWilliamHoward_HendrickMedCtrPathDept_00000001_000000
           01.pdf

     68.   Hendrick Medical Center Radiology,
           750014_016_001_HenryWilliamHoward_HendrickMedCtrRadDept_00000001_0000000
           2.pdf

     69.   Hendrick Medical Center Radiology,
           750014_016_002_HenryWilliamHoward_HendrickMedCtrRadDept_00000003_0000000
           3.pdf

     70.   Hendrick Medical Center Radiology,
           750014_016_003_HenryWilliamHoward_HendrickMedCtrRadDept_00000004_0000000
           4.pdf

     71.   Hendrick Regional Laboratory Medical Records,
           750014_036_001_HenryWilliamHoward_HendrickRegionalLab_00000001_00000720.p
           df

     72.   Hospice of San Angelo, Inc. Medical Records,
           750014_092_001_HenryWilliamHoward_HospiceofSanAngeloInc_00000001_00000256
           .pdf

     73.   Mahur, Sandi, M.D. Medical Records,
           750014_028_001_HenryWilliamHoward_MahurSandiMD_00000001_00000035.pdf

     74.   Mahur, Sandi, M.D. Medical Records,
           750014_028_002_HenryWilliamHoward_MahurSandiMD_00000036_00000036.pdf

     75.   Mahur, Sandi, M.D. Medical Records,
           750014_028_003_HenryWilliamHoward_MahurSandiMD_00000037_00000037.pdf

     76.   MedStar Mobile Healthcare Area Metropolitan Ambulance Authority / MedStar,
           750014_082_001_HenryWilliamHoward_MedStarMobileHealthcare_00000001_000000
           08.pdf




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     77.   Outreach Health Services, Inc. Medical and Billing Records,
           750014_085_001_HenryWilliamHoward_OutreachHealthSvcsIncMedRecsDept_000000
           01_00000550.pdf

     78.   Owl Drug Store,
           750014_007_001_HenryWilliamHoward_OwlDrugStore_00000001_00000008.pdf

     79.   Peterson Regional Medical Center Billing,
           750014_063_001_HenryWilliamHoward_PetersonRegionalMedCtrPatientAccts_000000
           01_00000015.pdf

     80.   Pharmacy Records of Owl Drug Store,
           750014_007_001_HenryWilliamHoward_OwlDrugStore_00000001_00000008.pdf,
           collected 3/22/16

     81.   Pharmacy Records of Wal-Mart Stores, Inc.,
           750014_005_002_HenryWilliamHoward_WalMartStoresIncPharmacy_00000002-
           00000022.pdf

     82.   Pharmacy Records of Wal-Mart Stores, Inc.,
           750014_005_003_HenryWilliamHoward_WalMartStoresIncPharmacy_00000023_00000
           023.pdf

     83.   Plaintiff Fact Sheet,
           750014_002_001_HentyWilliamHoward_PlaintiffFactSheet_00000001_00000062.pdf

     84.   Plaintiff Fact Sheet,
           750014_002_002_HentyWilliamHoward_PlaintiffFactSheet_00000063_00000084.pdf

     85.   Plaintiff Fact Sheet,
           750014_002_003_HentyWilliamHoward_PlaintiffFactSheet_00000085_00000105.pdf

     86.   Plaintiff Fact Sheet,
           750014_002_004_HentyWilliamHoward_PlaintiffFactSheet_00000106_00000106.pdf

     87.   Plaintiff Fact Sheet,
           750014_002_005_HentyWilliamHoward_PlaintiffFactSheet_00000107_00000128.pdf

     88.   Plaintiff Produced Records (Providers Various),
           750014_003_002_HenryWilliamHoward_PlaintiffProducedRecs_00000409_00000414.p
           df




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     89.    Plaintiff Produced Records (Providers Various),
            750014_003_003_HenryWilliamHoward_PlaintiffProducedRecs_00000415_00000422.p
            df

     90.    Plaintiff Produced Records (Providers Various),
            750014_003_001_HemyWilliamHoward_PlaintiffProducedRecs_00000001_00000408.p
            df

     91.    Radiology Associates of Abilene, PA,
            750014_020_001_HenryWilliamHoward_RadAssocsofAbilenePA_00000001_00000002.
            pdf

     92.    Reynolds, Jarrell P., MD (Documents Produced at Deposition) Medical Records,
            750014_099_001_HenryWilliamHoward_ReynoldsJarrellPMD_00000001_00000637.pd
            f

     93.    Robbins, Stewart, OD Billing Records,
            750014_093_002_HenryWilliamHoward_RobbinsStewartOD_00000019_00000030.pdf

     94.    Robbins, Stewart, OD,
            750014_093_001_HenryWilliamHoward_RobbinsStewartOD_00000001_00000018.pdf

     95.    Robbins, Stewart, OD,
            750014_093_002_HenryWilliamHoward_RobbinsStewartOD_00000019_00000030.pdf

     96.    Roberts, Stephen, MD / Heart of Texas Orthopaedics Medical Records,
            750014_032_001_HenryWilliamHoward_RobertsStephenMD_00000001_00000025.pdf

     97.    Roberts, Stephen, MD / Heart of Texas Orthopaedics Medical Report,
            750014_032_002_HenryWilliamHoward_RobertsStephenMD_00000026_00000026.pdf

     98.    San Angelo Radiation Oncology Regional Cancer Treatment Center Medical Records,
            750014_096_001_HenryWilliamHoward_SanAngeloRadiationOncologyMedRecsDept_0
            0000001_00000015.pdf

     99.    Shannon Clinic Clinic Records,
            750014_091_001_HenryWilliamHoward_ShannonClinic_00000001_00000080.pdf

     100.   Shannon Clinic Clinic Records,
            750014_091_002_HenryWilliamHoward_ShannonClinic_00000081_00000085.pdf




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     101.   Shannon Medical Center Billing,
            750014_039_001_HenryWilliamHoward_ShannonMedCtrPatientAccts_00000001_0000
            0022.pdf

     102.   Shannon Medical Center Medical Records,
            750014_038_001_HenryWilliamHoward_ShannonMedCtrMedRecsDept_00000001_000
            00220.pdf

     103.   Shannon Medical Center Medical Records,
            750014_038_002_HenryWilliamHoward_ShannonMedCtrMedRecsDept_00000221_000
            00221.pdf

     104.   Shannon Medical Center Pathology,
            750014_041_001_HenryWilliamHoward_ShannonMedCtrPathDept_00000001_0000000
            4.pdf

     105.   Shannon Medical Center Radiology,
            750014_040_001_HenryWilliamHoward_ShannonMedCtrRadDept_00000001_0000000
            1.pdf

     106.   Shannon Medical Center Radiology,
            750014_040_002_HenryWilliamHoward_ShannonMedCtrRadDept_00000002_0000000
            2.pdf

     107.   Shannon Medical Center Radiology,
            750014_040_003_HenryWilliamHoward_ShannonMedCtrRadDept_00000003_0000000
            3.pdf

     108.   Shannon Medical Center Radiology,
            750014_040_004_HenryWilliamHoward_ShannonMedCtrRadDept_00000004_0000000
            4.pdf

     109.   Texas Health Harris Methodist Hospital – Azle Radiology,
            750014_078_001_HenryWilliamHoward_TexasHealthHarrisMethodistHospAzleRadDep
            t_00000001_00000001.pdf

     110.   Texas Health Harris Methodist Hospital – Azle Radiology,
            750014_078_002_HenryWilliamHoward_TexasHealthHarrisMethodistHospAzleRadDep
            t_00000002_00000003.pdf

     111.   Texas Health Harris Methodist Hospital – Azle Radiology,
            750014_078_003_HenryWilliamHoward_TexasHealthHarrisMethodistHospAzleRadDep
            t_00000004_00000004.pdf



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     112.   Texas Medicaid and Healthcare Partnership,
            750014_042_001_HenryWilliamHoward_TexasMedicaidandHealthcarePartnership_0000
            0001_00000227.pdf

     113.   Texas Medicaid and Healthcare Partnership,
            750014_042_002_HenryWilliamHoward_TexasMedicaidandHealthcarePartnership_0000
            0228_00000228.pdf

     114.   The Wound Healing and Hyperbaric Medicine Center / Brownwood Regional Medical
            Center Billing Records,
            750014_019_003_HenryWilliamHoward_TheWoundHealingandHyperbaricMedicineCtr
            _00000613_00000642.pdf

     115.   The Wound Healing and Hyperbaric Medicine Center / Brownwood Regional Medical
            Center,
            750014_019_001_HenryWilliamHoward_TheWoundHealingandHyperbaricMedicineCtr
            _00000001_00000611.pdf

     116.   The Wound Healing and Hyperbaric Medicine Center / Brownwood Regional Medical
            Center,
            750014_019_002_HenryWilliamHoward_TheWoundHealingandHyperbaricMedicineCtr
            _00000612_00000612.pdf

     117.   Wal-Mart Stores, Inc. Pharmacy,
            750014_005_003_HenryWilliamHoward_WalMartStoresIncPharmacy_00000023_00000
            023.pdf

     118.   Wal-Mart Stores, Inc.,
            750014_005_002_HenryWilliamHoward_WalMartStoresIncPharmacy_00000002-
            00000022.pdf

     119.   West Texas Medical Associates Medical Records,
            750014_097_003_WestTexasMedAssocs_00000003_00000006.pdf

     120.   West Texas Retina Clinic Records,
            750014_087_001_HenryWilliamHoward_WestTexasRetina_00000001_00000059.pdf

     121.   West Texas Retina Clinic Records,
            750014_087_002_HenryWilliamHoward_WestTexasRetina_00000060_00000060.pdf




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     1.     Academic Dermatology Associates - Matherne, Ryan J. MD, SOrr - Academic
            Dermatology.pdf - SOrr-AcadDerm 000001 – 000022

     2.     Acadian Ambulance Service, SOrr - Acadian Ambulance.pdf – Sorr-AAs-000001-
            000010


     3.     Ambulatory Eye Surgery Center of Louisiana - Brint, Stephen F., MD, SOrr -
            Ambulatory Eye Surgery Center.pdf – Sorr-AESCL-000001-000077

     4.     American Memorial Life, SOrr - American Memorial Life.pdf – SOrr-AmeMemLife-
            000001-000142

     5.     Beeman, Chad MD - St. Elizabeth Physicians, SOrr - St Elizabeth Physicians.pdf – SOrr-
            StEP-000001-000061

     6.     Casey, Dennis, M.D., SOrr - Casey, Dennis, M.D.pdf – SOrr-DCasey-00001-00010

     7.     Cruz, Francisco, M.D., SOrr - Cruz, Francisco, M.D.pdf – SOrr-FCruz-000001-000180

     8.     Cummings, Terry, M.D., SOrr - Cummings, Terry, M.D..pdf – SOrr-TCummings-
            000001-000067

     9.     CVS Pharmacy, Inc., SOrr - CVS Pharmacy.pdf – SOrr-CVS-000001-000028

     10.    Danilyants, Eduard M.D. - Touro Infirmary (Medical Records Department), SOrr -
            Tulane Infirmary (medical).pdf - SOrr-TI-MD-000001-000199

     11.    Eye Surgery Center of Louisiana, SOrr - Eye Surgery Center of Louisiana.pdf – SO-
            ESCL-000001-000074

     12.    For Better Health, Inc. - Rai, Kashmir MD, SOrr - For Better Health.pdf – SOrr-FBH-
            000001-000037

     13.    HCA Patient Account Services – Billing, SOrr - HCA Patient Accounts (billing).pdf –
            SOrr-HCAPAS-000001-000111

     14.    Kenner Regional / Ochsner Medical Center-Kenner, SOrr - Kenner Regional (med,
            billing & radiology).pdf – SOrr-KennerR-000001-000233




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     15.   LabCorp of America – Billing, SOrr - Lab Corp of America (billing).pdf – SOrr-
           LabCorpAm-BD-000001-000015

     16.   LabCorp of America – Medicals, SOrr - Lab Corp of America (medical).pdf – SOrr-
           LabCorpAmer-MD-000001-000017

     17.   Lindsey, John T., M.D., SOrr - Lindsey, John, M.D..pdf – SOrr-JLindsey-000001-000030

     18.   Lousteau, Ray Joseph, M.D., SOrr - Lousteau, Ray, M.D.pdf – SO-RJLousteau-000001-
           000007

     19.   McNulty, Michael, M.D. - Southern Orthopaedic Specialists, SOrr - McNulty, Michael,
           M.D.pdf – SorrMMcNulty-000001-000022

     20.   Ochsner Baptist Medical Center – Billing, SOrr - Ochsner Baptist (billing).pdf – SOrr-
           OBMC-BD-000001-000018

     21.   Ochsner Baptist Medical Center – Medicals, SOrr - Ochsner Baptist (medical).pdf –
           SOrr-OBMC-MD-000001-0001123

     22.   Ochsner Baptist Medical Center – Radiology, SOrr - Ochsner Baptist (radiology).pdf –
           SOrr-OBMC-RD-000001-000016

     23.   Ochsner Medical Center – Billing, SOrr - Ochsner Medical Center (billingl).pdf – SOrr-
           OMC-BD-000001-000018

     24.   Ochsner Medical Center – Medicals, SOrr - Ochsner Medical Center (medical) 1501-
           2250.pdf – SOrr-OMC-MD-0001501-002250

     25.   Ochsner Medical Center – Medicals, SOrr - Ochsner Medical Center (medical) 1-750.pdf
           – SOrr-OMC-MD-000001-000750

     26.   Ochsner Medical Center – Medicals, SOrr - Ochsner Medical Center (medical) 2251-
           2979.pdf – SOrr-OMC-MD-002251-002979

     27.   Ochsner Medical Center – Medicals, SOrr - Ochsner Medical Center (medical) 751-
           1500.pdf – SOrr-OMC-MD-000751-001500

     28.   Ochsner Medical Center (Radiology Department), SOrr - Ochsner Medical Center
           (radiology).pdf – SOrr-OMC-RD-000001-000004

     29.   Ochsner Medical Center Alton Ochsner Medical Foundation (Pathology Department),
           SOrr - Ochsner Medical Center (pathology).pdf – SOrr-OMC-PD-000001



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     30.   Our Lady of the Lake Regional Medical Center, SOrr - Our Lady of the Lake Regional
           (medical).pdf – SOrr-OLLRMC-MD-000001-000003

     31.   Plaintiff Produced Records (Police Department Records), SOrr – PPR 6312-6313.pdf –
           SOrr-PPR-006312-006313

     32.   Plaintiff Produced Records (Providers Various), SOrr - PPR 6314-6323.pdf – SOrr-PPR-
           6314-6323

     33.   Plaintiff Produced Records, SOrr – PPR 1501-2250.pdf – SOrr-PPR-001501-002250

     34.   Plaintiff Produced Records, SOrr - PPR 1-750.pdf – SOrr-PPR-000001-000750

     35.   Plaintiff Produced Records, SOrr – PPR 2251-3000.pdf – SOrr-PPR-002251-003000

     36.   Plaintiff Produced Records, SOrr – PPR 3001-3750.pdf – SOrr-PPR-003001-003750

     37.   Plaintiff Produced Records, SOrr – PPR 3751-4500.pdf - SOrr-PPR-003751-004500

     38.   Plaintiff Produced Records, SOrr – PPR 4501-5250.pdf - SOrr-PPR-004501-005250

     39.   Plaintiff Produced Records, SOrr – PPR 5251-5713.pdf - SOrr-PPR-005251-005713

     40.   Plaintiff Produced Records, SOrr – PPR 5714-5786.pdf - SOrr-PPR-005714-005786

     41.   Plaintiff Produced Records, SOrr – PPR 5787-5913.pdf - SOrr-PPR-005787-005913

     42.   Plaintiff Produced Records, SOrr – PPR 5914-5997.pdf - SOrr-PPR-005914-005997

     43.   Plaintiff Produced Records, SOrr – PPR 5998-6214.pdf - SOrr-PPR-005998-006214

     44.   Plaintiff Produced Records, SOrr – PPR 6215-6242.pdf - SOrr-PPR-006215-006242

     45.   Plaintiff Produced Records, SOrr – PPR 6243-6259.pdf - SOrr-PPR-006243-006259

     46.   Plaintiff Produced Records, SOrr – PPR 6260-6288.pdf - SOrr-PPR-006260-006288

     47.   Plaintiff Produced Records, SOrr – PPR 6289-6311.pdf - SOrr-PPR-006289-006311

     48.   Plaintiff Produced Records, SOrr - PPR 751-1500.pdf - SOrr-PPR-000751-001500

     49.   Quest Diagnostics, Inc., SOrr - Quest Diagnostics.pdf – SOrr-QD-LA-000001-000012



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     50.   Quest Diagnostics-Southwest (Patient Billing), SOrr - Quest Diagnostics Southwest
           (billing).pdf – SOrr-QDS-000001-000013

     51.   Scalco, Steven A., MD, SOrr - Scalco, Steven, M.D.pdf – SOrr-SAScalco-000001-
           000003

     52.   Singer Haley Vision Center, SOrr - Singer Haley Vision.pdf – SOrr-SHVC-000001-
           000099

     53.   St. Martin, Maurice E., Jr., M.D., SOrr - St. Martin, Maurice, M.D..pdf – SOrr-
           MEStMartinJr-000001-00346

     54.   Touro Infirmary (Pathology Department), SOrr - Tulane Infirmary (pathology).pdf –
           SOrr-TI-PD-000001-000006

     55.   Touro Infirmary (Patient Accounts), SOrr - Tulane Infirmary (billing).pdf – SOrr-TI-BD-
           000001-000009

     56.   Touro Infirmary (Radiology Department), SOrr - Tulane Infirmary (radiology).pdf –
           SOrr-TI-RD-000001-000016

     57.   Tulane Hospital (Medical Records Department), SOrr - Tulane Hospital (medical).pdf –
           SOrr-TulaneH-MD-000001-000589

     58.   Tulane Hospital (Patient Accounts) – Billing, SOrr - Tulane Hospital (billing).pdf – SOrr-
           TulaneH-BD-000001-000111

     59.   Tulane Hospital (Radiology Department), SOrr - Tulane Hospital (radiology).pdf – SOrr-
           TulaneH-RD-000001

     60.   Tulane University Hospital and Clinic (Pathology Department), SOrr - Tulane University
           Hospand Clinic (pathology inventory).pdf – SOrr-TUHC-PD-000001

     61.   Tulane University Hospital and Clinic (Radiology Department), SOrr - Tulane University
           Hospand Clinic (radiology inventory).pdf – SOrr-TUHC-RD-000001-000045

     62.   United Healthcare, SOrr - United Healthcare.pdf – SOrr-UH-000001-000358




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                                              Depositions

     Re: William Henry

     1.    Deposition Transcript of James Henry

     2.    Deposition Transcript of David McCain, M.D.

     3.    Deposition Transcript of J. Paul Reynolds, M.D.

     4.    Deposition Transcript of Jamie Foreman

     5.    Deposition Transcript of Nurse Misty King

     6.    Deposition Transcript of Edna Ramirez

     Re: Sharyn Orr

     1.    Deposition Transcript of Cuong Bui, M.D.

     2.    Deposition Transcript of Francisco Cruz, M.D.

     3.    Deposition Transcript of Terry Cummings, M.D.

     4.    Deposition Transcript of Kim DeAgano

     5.    Deposition Transcript of Toby Gropen, M.D.

     6.    Deposition Transcript of Elizabeth Mahanna, M.D.

     7.    Deposition Transcript of Brian Ogden, M.D.

     8.    Deposition Transcript of Joseph Orr, III

     9.    Deposition Transcript of Joseph Orr, Jr.

     10.   Deposition Transcript of Kashmir Rai, M.D.

     11.   Deposition Transcript of David Richardson

     12.   Deposition Transcript of Maurice St. Martin, M.D.

     13.   Deposition Transcript of Kelli Walker



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                                            Expert Reports

     1.    Expert Report of Frank Smart (Plaintiff Expert - Cardiology)

     2.    Expert Report of Joachim Ix (Plaintiff Expert - Nephrology)

     3.    Expert Report of Phillip S. Cuculich (Plaintiff Expert - Cardiology)

     4.    Plaintiff Expert Report of Gianluca Cerri, MD., FACEP, FAAEM, Emergency Medicine
           (Orr)

     5.    Plaintiff Expert Report of Peter G. Liechty, MD., FAANS, FACS, Neurosurgeon (Orr)

     6.    Plaintiff Expert Report of Randolph Rice, PH.D., Economics (Orr)

     7.    Plaintiff's Expert Report of Gerald Polukoff (Henry), Cardiovascular Medicine

     8.    Plaintiff's Expert Report of Theresa Emory, (Henry) Gastoenterology

     9.    Plaintiff's General Expert Report of Cindy Leissinger, M.D., Hematology, Internal
           Medicine

     10.   Plaintiff's General Expert Report of Henry Rinder, M.D., Hematology, Internal Medicine

     11.   Plaintiff's General Expert Report of Jan Rosing, Ph.D., Hematology



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